                              Case 23-11788-BLS                      Doc 1        Filed 10/30/23            Page 1 of 99

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


                                  Delaware
 ____________________ District of _________________
                                        (State)
                                                           7
 Case number (If known): _________________________ Chapter _____                                                                    Check if this is an
                                                                                                                                       amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                            Gelesis, Inc.
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used                 Gelesis
                                              ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                2 ___
                                              ___ 0 – ___
                                                        4 ___
                                                           9 ___
                                                              0 ___
                                                                 9 ___
                                                                    9 3    3
                                                                       ___ ___
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                 Mailing address, if different from principal place
                                                                                                          of business

                                              501         Boyleston Street
                                              ______________________________________________              _______________________________________________
                                              Number     Street                                           Number     Street

                                              Suite 6102
                                              ______________________________________________              _______________________________________________
                                                                                                          P.O. Box

                                              Boston                       MA     02116
                                              ______________________________________________              _______________________________________________
                                              City                        State    ZIP Code               City                      State      ZIP Code


                                                                                                          Location of principal assets, if different from
                                                                                                          principal place of business
                                              Suffolk County
                                              ______________________________________________
                                              County                                                      _______________________________________________
                                                                                                          Number     Street

                                                                                                          _______________________________________________

                                                                                                          _______________________________________________
                                                                                                          City                      State      ZIP Code




 5.   Debtor’s website (URL)                  www.gelesis.com
                                              ____________________________________________________________________________________________________




Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
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Debtor        Gelesis, Inc.
              _______________________________________________________                       Case number (if known)_____________________________________
              Name




 6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                               3 ___
                                             ___  3 ___
                                                     9 ___
                                                        1

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                            The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                           A plan is being filed with this petition.
                                                           Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                           The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
                                 Case 23-11788-BLS               Doc 1      Filed 10/30/23            Page 3 of 99

Debtor         Gelesis, Inc.
               _______________________________________________________                      Case number (if known)_____________________________________
               Name



 9.   Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes. District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

 10. Are any bankruptcy cases             No See attached list.
      pending or being filed by a
      business partner or an              Yes. Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________



 11. Why is the case filed in this       Check all that apply:
      district?
                                          Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                             district.

                                          A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12. Does the debtor own or have          No
      possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                   Other _______________________________________________________________________________


                                                  Where is the property?_____________________________________________________________________
                                                                            Number          Street

                                                                            ____________________________________________________________________

                                                                            _______________________________________         _______ ________________
                                                                            City                                            State ZIP Code


                                                  Is the property insured?

                                                   No
                                                   Yes. Insurance agency ____________________________________________________________________
                                                           Contact name     ____________________________________________________________________

                                                           Phone            ________________________________




              Statistical and administrative information




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
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                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

 In re:
                                                     Chapter 7
 Gelesis, Inc.
                                                     Case No. 23-_____ (___)
                       Debtor.

                                 LIST OF AFFILIATED DEBTORS

          The following affiliates of the Debtor are filing petitions for relief under Chapter 7 of the

Bankruptcy Code contemporaneously with the Debtor:




              Debtor                   District       Date of Petition     Relationship to Debtor

 Gelesis Holdings, Inc.            Bankr. D. Del.    October 30, 2023 Parent Company and Sole
                                                                      Shareholder of Debtor

 Gelesis, LLC                      Bankr. D. Del.    October 30, 2023 Subsidiary




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                 Case 23-11788-BLS        Doc 1    Filed 10/30/23     Page 7 of 99




                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

 In re:
                                                   Chapter 7
 Gelesis, Inc.
                                                   Case No. 23-_____ (___)
                      Debtor.

                          CORPORATE OWNERSHIP STATEMENT

          The above-captioned debtor respectfully submits the following, pursuant to Rule 7007.1(a)

of the Federal Rules of Bankruptcy Procedure:

          Debtor Gelesis, Inc.’s parent company, Gelesis Holdings, Inc., owns 100% of the Debtor’s

stock. Gelesis Holdings, Inc. is a publicly traded company.




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               Case 23-11788-BLS          Doc 1     Filed 10/30/23     Page 8 of 99




      ACTION BY WRITTEN CONSENT OF SOLE DIRECTOR OF GELESIS, INC.

                The undersigned being the sole director (the “Sole Director”) of Gelesis, Inc. a
Delaware corporation (the “Company”), acting in accordance with the provisions of the Delaware
General Corporate Law and the terms and conditions of the Thirteenth Amended and Restated
Certificate of Incorporation of Gelesis, Inc. (a Delaware corporation) (the “Certificate”) and the
Amended and Restated By-Laws of Gelesis, Inc. (the “Bylaws”), and that certain Consent in Lieu
of a Special Meeting of the Sole Shareholder, dated and effective as of April 30, 2023 (the
“Consent”) DOES HEREBY UNANIMOUSLY CONSENT in writing to the taking of the
following actions and DOES HEREBY ADOPT the following resolutions (the “Resolutions”):

                WHEREAS, pursuant to the Article V of Certificate, “[i]n furtherance and not in
limitation of the powers conferred by statute, the Board of Directors is expressly authorized to
make . . . the bylaws” of the Company; and

                WHEREAS, pursuant to Article II, Section 2.1 of the Bylaws, the business and
affairs of the Company shall be managed by or under the direction of the Board of Directors, who
may exercise all of the powers of the Company except as otherwise provided by law or the
Certificate; and

               WHEREAS, pursuant to Article II, Section 2.14 of the Bylaws, any action
permitted to be taken at a meeting of the Board of Directors may be taken without a meeting if all
members of the Board of Directors consent to such action in writing or by electronic transmission
and the writing or writings or electronic transmission or transmissions are filed with the records of
the meets of the Board of Directors; and

              WHEREAS, pursuant to the Consent, the number of directors who will comprise
the whole Board of Directors of the Company is one director; and

              WHEREAS, pursuant to the Consent, the Sole Director has been appointed to serve
as the sole member of the Board of Directors; and

               WHEREAS, the Company no longer has the ability to pay outstanding liabilities;
and

                WHEREAS, the Sole Director has considered authorizing the filing of a voluntary
petition by the Company in the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”) seeking relief under the provisions of Chapter 7 of Title 11 of the United
States Code (11 U.S.C. §§ 101 – 1532, the “Bankruptcy Code”).

                               Commencement of Chapter 7 Case

               NOW, THEREFORE, BE IT RESOLVED, that in the good faith business
judgment of the Sole Director, it is in the best interest of the Company and its creditors, employees,
stakeholders, and other interested parties, that the Company file a voluntary petition for relief
under Chapter 7 of the Bankruptcy Code; and further




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                 RESOLVED, that the Sole Director, any officers of the Company, and any of their
respective designees (each, an “Authorized Officer”) shall be, and each hereby is, authorized and
empowered, on behalf of and in the name of the Company to: (i) execute and verify a voluntary
petition for relief under the Bankruptcy Code; and (ii) cause the same to be filed (the “Chapter 7
Case”) in the Bankruptcy Court, in such form and at such time as such Officer executing the
petition shall determine; and further

               RESOLVED, that any Authorized Officer shall be, and each hereby is, authorized
and empowered, on behalf of and in the name of the Company, to execute and file on behalf of the
Company all petitions, schedules, lists, motions, applications, pleadings, and other papers or
documents as necessary to commence the Chapter 7 Case and obtain relief under the Bankruptcy
Code, and to take any and all further acts and deeds that any Authorized Officer deems necessary
or proper to obtain such relief, including, without limitation, any action necessary to facilitate the
administration of the Chapter 7 Case and to protect and preserve all documents, records and assets
of the Company pending the appointment of a Chapter 7 trustee; and further

               RESOLVED, that Yishai Zohar is designated as an Authorized Officer for the
purposes of this action by written consent; and further

                                  Engagement of Professionals

                 RESOLVED, that any Authorized Officer shall be, and each hereby is, authorized
and empowered to employ, on behalf of the Company, the law firm of Troutman Pepper Hamilton
Sanders LLP to represent the Company as general bankruptcy counsel on the terms set forth in its
engagement letter with the Company and to represent and assist the Company in preparing and
filing the petition and related forms, schedules, lists, statements and other papers or documents;
and further

               RESOLVED, that any Authorized Officer shall be, and each hereby is, authorized
and empowered to employ, on behalf of the Company, such other counsel, financial advisors, or
other professionals as may be prudent and desirable in connection with the preparation for the
filing of the Chapter 7 Case on such terms and conditions as any Authorized Officer of the
Company shall approve; and further

                            General Authorization and Ratification

                RESOLVED, that all acts, actions, and transactions relating to the matters
contemplated by the foregoing resolutions done in the name of and on behalf of the Company,
which acts would have been approved by the foregoing resolutions except that such acts were
taken before the adoption of these resolutions, are hereby in all respects approved and ratified as
the true acts and deeds of the Company with the same force and effect as if each such act,
transaction, agreement, certificate, or document has been specifically authorized in advance by
resolution of the Manager; and further

              RESOLVED, that this Action by Written Consent of the Sole Director of Gelesis,
Inc. may be executed by electronic means; and further


                                                  2

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B2030 (Form 2030) (12/15)




                                      United States Bankruptcy Court
                                                                    Delaware
                                        _______________ District Of _______________


In re: Gelesis, Inc.
                                                                                                Case No. ___________________

Debtor                                                                                                  7
                                                                                                Chapter ____________________

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above
     named debtor(s) and that compensation paid to me within one year before the filing of the petition in
     bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in
     contemplation of or in connection with the bankruptcy case is as follows:

                                                                                                              167,042.00
     For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

                                                                                                            167,042.00
     Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . . . . . . . . $______________

                                                                                                                              0.00
     Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

2.   The source of the compensation paid to me was:

                Debtor                               Other (specify)             Gelesis Holdings, Inc.
3.   The source of compensation to be paid to me is:

                Debtor                               Other (specify)             Gelesis Holdings, Inc.
4.            I have not agreed to share the above-disclosed compensation with any other person unless they are
           members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who are not
           members or associates of my law firm. A copy of the agreement, together with a list of the names of the
           people sharing in the compensation, is attached.

5.   In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy
     case, including:

     a.    Ana
             nalys
                 ysis of the
                          he debto
                                tor' s financia
                                             ial sit
                                                  ituation, and renderin
                                                                      ing advic
                                                                             ice to the debto
                                                                                           tor in dete
                                                                                                    terminin
                                                                                                          ing whether to
           file a petition in bankruptctcy;

     b.    Preparation and filing of any petition, schedule
                                                         les, sta
                                                               tate
                                                                  tements
                                                                       ts of affair
                                                                                 irs and pla
                                                                                          lan whic
                                                                                                ich may be requir
                                                                                                               ired; and

     c.    Rep
            epres
               esen
                 entat
                    ation of the de
                                 debt
                                    btor
                                      or at the meeting
                                                     ng of credi
                                                              ditor
                                                                 ors and any
                                                                          ny adj
                                                                              djou
                                                                                ournment thereof.
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 Fill in this information to identify the case:

              Gelesis, Inc.
 Debtor name ____________________________ _____ _____ _____ ______ _____ _____ _____ _

                                                                              Delaware
 United States Bankruptcy Court f or the: _______________________ District of ________
                                                                                                                 (State)
 Case number (If known):              _________________________


                                                                                                                                                                                               Check if this is an
                                                                                                                                                                                                 amended filing




Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                       12/15




Part 1:          Summary of Assets


1.   Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                837,999.97
                                                                                                                                                                                              $ ________________
           Copy line 88 from Schedule A/B .....................................................................................................................................

     1b. Total personal property:
                                                                                                                                                                                                Unknown
                                                                                                                                                                                              $ ________________
           Copy line 91A from Schedule A/B...................................................................................................................................

     1c. Total of all property:
                                                                                                                                                                                                Unknown
                                                                                                                                                                                              $ ________________
           Copy line 92 from Schedule A/B .....................................................................................................................................




Part 2:          Summary of Liabilities




2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D..............................................
                                                                                                                                                                                                12,411,033.33
                                                                                                                                                                                              $ ________________


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim am ounts of priority unsecured claim s:
           Copy the total claims from Part 1 from line 5a of Schedule E/F ....................................................................................                                  0.00
                                                                                                                                                                                              $ ________________


     3b. Total am ount of claims of nonpriority am ount of unsecured claims:
                                                                                                                                                                                                113,145,507.95
                                                                                                                                                                                            + $ ________________
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F .........................................................




4.   Total liabilities...................................................................................................................................................................       125,556,541.28
                                                                                                                                                                                              $ ________________
     Lines 2 + 3a + 3b




 Official Form 206Sum                                       Sum m ary of Assets and Liabilities for Non-Individuals                                                                                page 1
                                 Case 23-11788-BLS               Doc 1           Filed 10/30/23         Page 15 of 99
  Fill in this information to identify the case:

              Gelesis, Inc.
  Debtor name __________________________________________________________________

                                                                             Delaware
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                             (State)
  Case number (If known):    _________________________                                                                                  Check if this is an
                                                                                                                                          amended filing


Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                   12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.


For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Part 1:    Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

    No. Go to Part 2.
    Yes. Fill in the information below.
    All cash or cash equivalents owned or controlled by the debtor                                                                  Current value of debtor’s
                                                                                                                                    interest

2. Cash on hand                                                                                                                      0.00
                                                                                                                                   $______________________

3. Checking, savings, money market, or financial brokerage accounts (Identify all)*                                               See attached schedule.
   Name of institution (bank or brokerage firm)                Type of account                  Last 4 digits of account number
   3.1. _________________________________________________ ______________________                ____ ____ ____ ____                 $______________________
   3.2. _________________________________________________ ______________________                ____ ____ ____ ____                 $______________________


4. Other cash equivalents (Identify all)
   4.1. _____________________________________________________________________________________________________                      $______________________
   4.2. _____________________________________________________________________________________________________                      $______________________

5. Total of Part 1                                                                                                                   777,908.66
                                                                                                                                    $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Part 2:    Deposits and prepayments

6. Does the debtor have any deposits or prepayments?

    No. Go to Part 3.
    Yes. Fill in the information below.
                                                                                                                                     Current value of
                                                                                                                                     debtor’s interest
7. Deposits, including security deposits and utility deposits
   Description, including name of holder of deposit

   7.1. ________________________________________________________________________________________________________                    $______________________
   7.2._________________________________________________________________________________________________________                    $_______________________


  Official Form 206A/B                                    Schedule A/B: Assets         Real and Personal Property                                page 1
                                Case 23-11788-BLS                  Doc 1        Filed 10/30/23             Page 16 of 99
Debtor         Gelesis, Inc.
               _______________________________________________________                          Case number (if known)_____________________________________
               Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
                                                                                                                            See attached schedule.
   Description, including name of holder of prepayment

   8.1.___________________________________________________________________________________________________________                $______________________
   8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                   21,415.68
                                                                                                                                  $______________________
   Add lines 7 through 8. Copy the total to line 81.



Part 3:    Accounts receivable

10. Does the debtor have any accounts receivable?

     No. Go to Part 4.
     Yes. Fill in the information below.
                                                                                                                                  Current value of debtor’s
                                                                                                                                  interest
11. Accounts receivable

    11a. 90 days old or less:    $261,513.50
                                 ____________________________   $0.00
                                                              – ___________________________          = ........                   261,513.50
                                                                                                                                 $______________________
                                  face amount                   doubtful or uncollectible accounts

    11b. Over 90 days old:        0.00
                                  ___________________________    0.00
                                                              – ___________________________          = ........                   0.00
                                                                                                                                 $______________________
                                   face amount                  doubtful or uncollectible accounts


12. Total of Part 3                                                                                                                261,513.50
                                                                                                                                 $______________________
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Part 4:    Investments

13. Does the debtor own any investments?
     No. Go to Part 5.
     Yes. Fill in the information below.
                                                                                                        Valuation method          Current value of debtor’s
                                                                                                        used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
   Name of fund or stock:
   14.1. ________________________________________________________________________________               _____________________    $________________________
   14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture*                                                        See attached schedule.

   Name of entity:                                                                 % of ownership:

   15.1._______________________________________________________________            ________%            _____________________    $________________________
   15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
   Describe:

   16.1.________________________________________________________________________________                ______________________    $_______________________
   16.2.________________________________________________________________________________                ______________________    $_______________________



17. Total of Part 4                                                                                                                Unknown
                                                                                                                                 $______________________
    Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                        Schedule A/B: Assets       Real and Personal Property                               page 2
                              Case 23-11788-BLS                      Doc 1     Filed 10/30/23         Page 17 of 99
Debtor        Gelesis, Inc.
              _______________________________________________________                        Case number (if known)_____________________________________
              Name




Part 5:   Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?
     No. Go to Part 6.
     Yes. Fill in the information below.
     General description                            Date of the last         Net book value of     Valuation method used        Current value of
                                                    physical inventory       debtor's interest     for current value            debtor’s interest
                                                                             (Where available)
19. Raw materials
   ________________________________________         ______________                                                             $______________________
                                                    MM / DD / YYYY
                                                                             $__________________   ______________________

20. Work in progress
   ________________________________________         ______________                                                             $______________________
                                                    MM / DD / YYYY
                                                                             $__________________   ______________________

21. Finished goods, including goods held for resale
   Various finished goods for resale
   ________________________________________
                                                    10/30/2023
                                                    ______________            N/A                  Gross physical count         5,228,202.76*
                                                                                                                               $______________________
                                                    MM / DD / YYYY
                                                                             $__________________   ______________________

22. Other inventory or supplies
   ________________________________________         ______________                                                             $______________________
                                                    MM / DD / YYYY
                                                                             $__________________   ______________________


23. Total of Part 5                                                                                                             5,228,202.76*
                                                                                                                               $______________________
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
                                                                                *Based on maximum shelf life, $4,939,223.37 of this
     No                                                                        inventory cannot be sold. The likely value of the
     Yes                                                                       inventory is $288,979.39.
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

     No
     Yes. Book value _______________            Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
     No
     Yes
Part 6:   Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
     No. Go to Part 7.
     Yes. Fill in the information below.
      General description                                                    Net book value of     Valuation method used        Current value of debtor’s
                                                                             debtor's interest     for current value            interest
                                                                             (Where available)
28. Crops—either planted or harvested
   ______________________________________________________________             $________________     ____________________       $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish
   ______________________________________________________________             $________________     ____________________       $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)
   ______________________________________________________________             $________________     ____________________       $______________________

31. Farm and fishing supplies, chemicals, and feed
   ______________________________________________________________             $________________     ____________________       $______________________

32. Other farming and fishing-related property not already listed in Part 6

   ______________________________________________________________             $________________     ____________________       $______________________


Official Form 206A/B                                      Schedule A/B: Assets       Real and Personal Property                              page 3
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Debtor         Gelesis, Inc.
               _______________________________________________________                        Case number (if known)_____________________________________
               Name




33. Total of Part 6.
                                                                                                                                $______________________
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

     No
     Yes. Is any of the debtor’s property stored at the cooperative?
       No
       Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

     No
     Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

     No
     Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

     No
     Yes

Part 7:    Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
     Yes. Fill in the information below.     See attached schedule.

   General description                                                        Net book value of     Valuation method             Current value of debtor’s
                                                                              debtor's interest     used for current value       interest
                                                                              (Where available)

39. Office furniture
   ______________________________________________________________              $________________     ____________________       $______________________

40. Office fixtures
   See attached schedule.
   ______________________________________________________________              $________________     ____________________        17,043.94
                                                                                                                                $______________________

41. Office equipment, including all computer equipment and
    communication systems equipment and software
   See attached schedule.
   ______________________________________________________________              $________________     ____________________        5,433.37
                                                                                                                                $______________________

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles
   42.1___________________________________________________________             $________________      ____________________      $______________________
   42.2___________________________________________________________             $________________      ____________________      $______________________
   42.3___________________________________________________________             $________________      ____________________      $______________________

43. Total of Part 7.
                                                                                                                                 22,477.31
                                                                                                                                $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

     No
     Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

     No
     Yes

Official Form 206A/B                                        Schedule A/B: Assets      Real and Personal Property                              page 4
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 Debtor       Gelesis, Inc.
              _______________________________________________________                      Case number (if known)_____________________________________
              Name




Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
     Yes. Fill in the information below.

   General description                                                     Net book value of      Valuation method used        Current value of
                                                                           debtor's interest      for current value            debtor’s interest
   Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
   HIN, or N-number)


47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

   47.1___________________________________________________________          $________________      ____________________       $______________________

   47.2___________________________________________________________          $________________      ____________________       $______________________

   47.3___________________________________________________________          $________________      ____________________       $______________________

   47.4___________________________________________________________          $________________      ____________________       $______________________


48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

   48.1__________________________________________________________          $________________       ____________________       $______________________

   48.2__________________________________________________________          $________________       ____________________       $______________________

49. Aircraft and accessories

   49.1__________________________________________________________          $________________       ____________________       $______________________

   49.2__________________________________________________________          $________________       ____________________       $______________________

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

   ______________________________________________________________          $________________       ____________________       $______________________


51. Total of Part 8.
                                                                                                                              $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
     No
     Yes
53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     No
     Yes




 Official Form 206A/B                                     Schedule A/B: Assets     Real and Personal Property                              page 5
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Debtor         Gelesis, Inc.
               _______________________________________________________                            Case number (if known)_____________________________________
               Name




Part 9:   Real property

54. Does the debtor own or lease any real property?
     No. Go to Part 10.
     Yes. Fill in the information below.
55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

    Description and location of property                    Nature and extent      Net book value of     Valuation method used        Current value of
    Include street address or other description such as     of debtor’s interest   debtor's interest     for current value            debtor’s interest
    Assessor Parcel Number (APN), and type of property      in property            (Where available)
    (for example, acreage, factory, warehouse, apartment
    or office building), if available.
        501 Boylston Street, Suite 6102, Boston, MA 02116
    55.1________________________________________             Sublease
                                                             _________________      837,999.97
                                                                                   $_______________      Book Value
                                                                                                         ____________________         837,999.97
                                                                                                                                     $_____________________

    55.2________________________________________             _________________     $_______________      ____________________        $_____________________

    55.3________________________________________             _________________     $_______________      ____________________        $_____________________

    55.4________________________________________             _________________     $_______________      ____________________        $_____________________

    55.5________________________________________             _________________     $_______________      ____________________        $_____________________

    55.6________________________________________             _________________     $_______________      ____________________        $_____________________


56. Total of Part 9.
                                                                                                                                      837,999.97
                                                                                                                                     $_____________________
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
     No
     Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
     No
     Yes
Part 10: Intangibles and intellectual property

59. Does the debtor have any interests in intangibles or intellectual property?
     No. Go to Part 11.
     Yes. Fill in the information below.
      General description                                                          Net book value of     Valuation method             Current value of
                                                                                   debtor's interest     used for current value       debtor’s interest
                                                                                   (Where available)
60. Patents, copyrights, trademarks, and trade secrets
    ______________________________________________________________                 $_________________     ______________________      $____________________

61. Internet domain names and websites
    ______________________________________________________________                 $_________________     ______________________       $____________________

62. Licenses, franchises, and royalties
    ______________________________________________________________                 $_________________     ______________________       $____________________

63. Customer lists, mailing lists, or other compilations
    ______________________________________________________________                 $_________________     ______________________       $____________________

64. Other intangibles, or intellectual property
    ______________________________________________________________                  $________________     _____________________       $____________________
65. Goodwill
    ______________________________________________________________                  $________________     _____________________       $____________________

66. Total of Part 10.
                                                                                                                                      $____________________
    Add lines 60 through 65. Copy the total to line 89.




Official Form 206A/B                                           Schedule A/B: Assets       Real and Personal Property                              page 6
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Debtor          Gelesis, Inc.
                _______________________________________________________                        Case number (if known)_____________________________________
                Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
     No
     Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
     No
     Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
     No
     Yes
Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
     No. Go to Part 12.
     Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest
71. Notes receivable
    Description (include name of obligor)
                                                                    _______________ –     __________________________         =   $_____________________
    ______________________________________________________
                                                                    Total face amount     doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

    Description (for example, federal, state, local)
     Various NOLs and tax credits - see attached schedule
    _________________________________________________________________________________                            Various
                                                                                                        Tax year ___________       273,851,216.00
                                                                                                                                  $_____________________
    _________________________________________________________________________________
                                                                                                        Tax year ___________      $_____________________
    _________________________________________________________________________________
                                                                                                        Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    ______________________________________________________________                                                                $_______________________
    Nature of claim                   ___________________________________

    Amount requested                  $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                $_______________________

    Nature of claim                   ___________________________________

    Amount requested                  $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                 $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   Executory contracts - see attached schedule.
   ____________________________________________________________                                                                    Unknown
                                                                                                                                  $_____________________
    Various intercompany receivables - see attached schedule.
   ____________________________________________________________                                                                    6,114,285.85
                                                                                                                                  $_____________________

78. Total of Part 11.
                                                                                                                                   Unknown
                                                                                                                                  $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
     No
     Yes
Official Form 206A/B                                        Schedule A/B: Assets      Real and Personal Property                               page 7
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Debtor            Gelesis, Inc.
                  _______________________________________________________                                                 Case number (if known)_____________________________________
                  Name




Part 12:         Summary



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                               Current value of                        Current value
                                                                                                      personal property                       of real property

80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.
                                                                                                          777,908.66
                                                                                                         $_______________


81. Deposits and prepayments. Copy line 9, Part 2.
                                                                                                          21,415.68
                                                                                                         $_______________


82. Accounts receivable. Copy line 12, Part 3.
                                                                                                          261,513.50
                                                                                                         $_______________


83. Investments. Copy line 17, Part 4.
                                                                                                          Unknown
                                                                                                         $_______________

                                                                                                          5,228,202.76
                                                                                                         $_______________
84. Inventory. Copy line 23, Part 5.

85. Farming and fishing-related assets. Copy line 33, Part 6.
                                                                                                          0.00
                                                                                                         $_______________

86. Office furniture, fixtures, and equipment; and collectibles.                                          22,477.31
                                                                                                         $_______________
     Copy line 43, Part 7.

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.
                                                                                                          0.00
                                                                                                         $_______________

                                                                                                                                              837,999.97
                                                                                                                                             $________________
88. Real property. Copy line 56, Part 9. . ..................................................................................... 

89. Intangibles and intellectual property. Copy line 66, Part 10.
                                                                                                          Unknown
                                                                                                         $_______________


90. All other assets. Copy line 78, Part 11.                                                           Unknown
                                                                                                    + $_______________

                                                                                                          Unknown                            837,999.97
91. Total. Add lines 80 through 90 for each column. ............................ 91a.                    $_______________            + 91b. $________________


92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ..............................................................................................    Unknown
                                                                                                                                                                  $__________________




Official Form 206A/B                                                       Schedule A/B: Assets                Real and Personal Property                                 page 8
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                        Gelesis, Inc. - Schedule A/B – Part 1, Section 3

                                        Bank Accounts

  Name of Institution      Type of Account          Last 4 Digits of       Current Value of
                                                   Account Number          Debtor’s Interest
 Silicon Valley Bank*         Checking                   0924                $771,356.42
 Silicon Valley Bank        Zero-Balance                 0676                   $0.00
                              Checking
  Silicon Valley Bank     Checking (EUR)**                2709                 $3,681.77
      Wells Fargo             Checking                    8501                 $2,870.47
          UBS                Brokerage                    8532                   $0.00
                                                             TOTAL:           $777,908.66

*This account is subject to a deposit account control agreement with PureTech Health LLC, a
copy of which is attached.

**This checking account holds funds in Euro and has €3,484.83 deposited. The USD value was
calculated based on the exchange rate of 1.054863.


Note: Inactive subsidiary Gelesis Securities Corp. has the following bank account:

  Name of Institution      Type of Account          Last 4 Digits of       Current Value of
                                                   Account Number           Subsidiary’s
                                                                               Interest
              UBS              Checking                   6924                 $104.05




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                                    Gelesis, Inc.

                         Deposit Account Control Agreement




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                                                                                              Deposit Account Control Agreement

                                                           [BANK USE ONLY]                                                 [BANK USE ONLY]
                           Account                           Sweep Product                          Account                  Sweep Product

             3300510924

             0018322709




                                                         ________ [LAM initials]                                          ________ [LAM initials]


            Customer:          Gelesis, Inc.

            Creditor:          PureTech Health LLC

            This Deposit Account Control Agreement (“Agreement”) is entered into as of the date set forth on the
            signature page hereto among Silicon Valley Bank, a division of First-Citizens Bank & Trust Company
            (“Bank”), Creditor identified above (“Creditor”), and Customer identified above (“Customer”).

            All parties hereto agree as follows:

            1.       Deposit Account. (a) Bank maintains                                   3.       Customer’s Rights in the Deposit
            one or more demand, time, savings, passbook or                                 Account. (a) Customer, Bank and Creditor
            other similar accounts that are identified above in                            agree that Bank will comply with the instructions
            which Customer has an interest (collectively, the                              originated by Creditor directing disposition of the
            “Account”). The Deposit Account (as defined                                    funds in the Deposit Account without further
            below) is subject to Bank’s Deposit Agreement                                  consent by Customer, subject to this Section 3
            and Disclosure Statement (the “Deposit                                         and Section 4 hereof.
            Agreement”). In the case of any conflict between
            the terms of this Agreement and the Deposit                                             (b)      Until Bank receives a notice from
            Agreement, the terms of this Agreement will                                    Creditor that Creditor is exercising its rights under
            prevail.    The parties acknowledge that the                                   this Agreement to direct Bank to cease complying
            Deposit Account constitutes a “deposit account”                                with instructions or any directions originated by
            within the meaning of Section 9102 of the Uniform                              Customer (a “Notice of Exclusive Control”) and
            Commercial Code of the State of California (the                                Bank has a reasonable opportunity to comply with
            “UCC”) and Bank is a “bank” within the meaning                                 it, but no later than two (2) Business Days (as
            of Section 9102 of the UCC. Bank’s jurisdiction                                defined below) after a Notice of Exclusive Control
            for purposes of Section 9304 of the UCC is the                                 has been validly delivered (in accordance with
            State of California.                                                           Section 12(b) hereof), Customer will, subject to
                                                                                           the Deposit Agreement and applicable law, be
                    (b)     Customer and Creditor agree to                                 entitled to draw items on and to withdraw or
            pay Bank’s fees for services rendered in                                       otherwise direct the disposition of funds from the
            connection with this Agreement, as set forth in                                Deposit Account.
            Exhibit B hereto. Such fees shall constitute
            Account Charges under Section 5(a)(ii) hereof                                           (c)     So long as this Agreement is in
            and shall be paid to Bank in accordance with                                   effect, Customer may not close the Deposit
            Section 7 hereof.                                                              Account without Creditor’s prior written consent,
                                                                                           which Bank shall have no duty to verify. Bank
            2.       Security Interest.      Customer and                                  may close the Deposit Account in accordance
            Creditor represent and warrant that pursuant to a                              with the Deposit Agreement and as may be
            security agreement or similar agreement,                                       required by applicable law. After Bank receives a
            Customer has granted to Creditor a security                                    Notice of Exclusive Control and Bank has a
            interest in the Account and in all funds now or                                reasonable opportunity to comply with it, but no
            later deposited into or held therein (collectively,                            later than two (2) Business Days after a Notice of
            the “Deposit Account”).                                                        Exclusive Control has been validly delivered (in

             Silicon Valley Bank, a division of First-Citizens Bank & Trust Company. Member FDIC.

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                                                                                              Deposit Account Control Agreement

            accordance with Section 12(b) hereof), subject to                              transfer of funds, automated clearing house
            applicable law, Bank will notify Creditor not less                             entry, credit from a merchant card transaction,
            than thirty (30) calendar days prior to closing the                            other electronic transfer of funds or other item (A)
            Deposit       Account      in     non-emergency                                deposited in or credited to the Deposit Account,
            circumstances           and           substantially                            whether before or after the date of this
            contemporaneously with closing the Deposit                                     Agreement, and returned unpaid or otherwise
            Account in emergency circumstances. Customer                                   uncollected or subject to an adjustment entry,
            will notify Creditor promptly if Bank closes the                               whether for insufficient funds or for any other
            Deposit Account.                                                               reason and without regard to the timeliness of the
                                                                                           return or adjustment or the occurrence or
            4.         Creditor’s Control of the Deposit                                   timeliness of any other person’s notice of
            Account. After Bank receives a Notice of                                       nonpayment or adjustment, (B) subject to a claim
            Exclusive Control and Bank has a reasonable                                    against Bank for breach of transfer, presentment,
            opportunity to comply with it, but no later than two                           encoding, retention or other warranty under
            (2) Business Days after a Notice of Exclusive                                  Federal Reserve Regulations or Operating
            Control has been validly delivered (in accordance                              Circulars, clearing house rules, the UCC or other
            with Section 12(b) hereof), Bank and Customer                                  applicable law, or (C) for a merchant card
            agree that subject to applicable law: (a) except as                            transaction, against which a contractual demand
            provided in Section 5 hereof, Bank will comply with                            for chargeback has been made (“Returned
            instructions originated by Creditor directing                                  Items”);
            disposition of the funds in the Deposit Account
            without further consent by Customer (including                                                (ii)     service charges, fees or
            upon closure of the Deposit Account); and                                      expenses payable or reimbursable to Bank in
            (b) Bank will not comply with any instructions                                 connection with the Deposit Agreement, the
            from Customer concerning the Deposit Account                                   Deposit Account or any related services for the
            or any funds therein. Bank shall have no duty to                               Deposit Account, including in connection with this
            inquire or determine whether Creditor is entitled                              Agreement (“Account Charges”); and
            to send a Notice of Exclusive Control. Bank will
            be fully entitled to rely upon such instructions                                                (iii) any adjustments or
            from Creditor even if such instructions are                                    corrections of any posting or encoding errors
            contrary to any instructions or demands delivered                              (“Adjustments”).
            by Customer. Customer confirms that Bank (x)
            should follow instructions from Creditor even if                                       (b)     Creditor      agrees          that
            the result of following such instructions is that                              notwithstanding receipt of a Notice of Exclusive
            Bank dishonors items presented for payment                                     Control, Bank may exercise Bank’s rights and
            from the Deposit Account, and (y) will have no                                 remedies in connection with any liens or claims it
            liability to Customer for wrongful dishonor of such                            may have in or on the Deposit Account as
            items in following such instructions from Creditor.                            described in Section 5(a) hereof, including the
            For purposes of this Agreement, “Business Day”                                 rights and remedies described in Section 7
            means a day on which Bank is open to the public                                hereof.
            for business and is measured in a 24-hour
            increment.                                                                     6.      Statements. At Customer’s expense,
                                                                                           upon a request of Creditor made to Bank by
            5.      Rights Reserved by Bank. (a) Creditor                                  Creditor in writing, Bank will send copies of all
            agrees that nothing herein subordinates or                                     statements sent to Customer for the Deposit
            waives, and that Bank expressly reserves, any                                  Account to Creditor in accordance with Section
            and/or all of Bank’s present and future rights                                 12 hereof. Until this Agreement is terminated,
            (whether described as rights of debit, setoff,                                 Customer authorizes Bank to disclose to Creditor
            banker’s liens, chargeback or otherwise, and                                   at Creditor’s request any information concerning
            whether available to Bank under the law or under                               the Deposit Account.
            any other agreement between Bank and
            Customer concerning the Deposit Account) with                                  7.     Returned Items, Account Charges and
            respect to:                                                                    Adjustments. Customer and Creditor agree that
                                                                                           Returned Items, Account Charges and
                           (i)  the face amount of a                                       Adjustments shall be subject to the Deposit
            check, draft, money order, instrument, wire                                    Agreement and shall be paid by Bank debiting the




             Silicon Valley Bank, a division of First-Citizens Bank & Trust Company. Member FDIC.

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                                                                                              Deposit Account Control Agreement

            Deposit Account, without prior notice to Customer                              misconduct of such Indemnified Person as
            or Creditor. To the extent that funds are not                                  determined by a final non-appealable judgment of
            available in the Deposit Account to cover the                                  a court of competent jurisdiction.
            amount of any Returned Item, Account Charge
            and Adjustment, Customer shall promptly pay                                    10.    Limitation of Liability.       THIS
            such amount or any shortfall upon Bank’s written                               AGREEMENT DOES NOT CREATE ANY
            demand; provided that if at any time that a Notice                             OBLIGATIONS OF BANK, AND BANK MAKES
            of Exclusive Control is effective with respect to                              NO        EXPRESS        OR       IMPLIED
            the Deposit Account and Customer fails to pay                                  REPRESENTATIONS OR WARRANTIES WITH
            such amount or shortfall within fifteen (15)                                   RESPECT TO ITS OBLIGATIONS UNDER THIS
            Business Days of Bank’s written demand, then                                   AGREEMENT,        EXCEPT    FOR     THOSE
            Creditor agrees that it will pay, within ten (10)                              EXPRESSLY SET FORTH HEREIN. BANK
            Business Days of Bank’s written demand,                                        MAY RELY ON ANY AND ALL NOTICES AND
            amounts owed for each such Returned Item,                                      COMMUNICATIONS IT BELIEVES ARE GIVEN
            Account Charge or Adjustment that is not paid in                               BY THE APPROPRIATE PARTY. IN NO EVENT
            full by Customer up to the amount of the proceeds                              SHALL ANY PARTY HERETO BE LIABLE FOR
            received by Creditor from the Deposit Account;                                 ANY SPECIAL, INDIRECT, CONSEQUENTIAL
            provided further that Bank must make a demand                                  OR PUNITIVE DAMAGES (PROVIDED THAT
            from Creditor within 180 days of termination of                                THE FOREGOING SHALL IN NO EVENT LIMIT
            this Agreement.                                                                INDEMNIFICATION        OBLIGATIONS      IN
                                                                                           SECTIONS 8 AND 9 HEREOF). IN NO EVENT
            8.        Indemnification and Hold Harmless of                                 SHALL      BANK      BE    LIABLE     FOR
            Bank by Customer. Customer hereby agrees to                                    CIRCUMSTANCES         BEYOND       BANK’S
            indemnify and hold harmless Bank, its affiliates                               CONTROL         (INCLUDING,     WITHOUT
            and their respective directors, officers, agents                               LIMITATION, COMPUTER MALFUNCTIONS,
            and employees (each, an “Indemnified Person”)                                  INTERRUPTIONS       OF   COMMUNICATION
            against any and all claims, causes of action,                                  FACILITIES, LABOR DIFFICULTIES, ACTS OF
            losses, liabilities, lawsuits, demands, damages,                               GOD, WARS, OR TERRORIST ATTACKS).
            costs and expenses, including without limitation                               CREDITOR AND CUSTOMER AGREE THAT
            any and all court costs and reasonable and                                     BANK IS RELEASED FROM ANY AND ALL
            documented out of pocket attorneys’ fees,                                      LIABILITIES TO CREDITOR AND CUSTOMER
            charges and disbursements (each, a “Claim”), in                                IN ANY WAY RELATED TO OR ARISING OUT
            any way related to or arising out of or in                                     OF OR IN CONNECTION WITH THE DEPOSIT
            connection with the Deposit Account, this                                      ACCOUNT, THIS AGREEMENT OR ANY
            Agreement or any transaction contemplated                                      TRANSACTION               CONTEMPLATED
            hereunder, including without limitation as a result                            HEREUNDER, EXCEPT TO THE EXTENT THE
            of Bank following any instructions of Creditor                                 LIABILITIES ARE DIRECTLY CAUSED BY
            following receipt of a Notice of Exclusive Control;                            BANK’S GROSS NEGLIGENCE OR WILLFUL
            provided that no Indemnified Person shall be                                   MISCONDUCT AS DETERMINED BY A FINAL
            entitled to be indemnified for any Claims to the                               NON-APPEALABLE JUDGMENT OF A COURT
            extent that such Claims result from the gross                                  OF COMPETENT JURISDICTION.
            negligence or willful misconduct of such
            Indemnified Person as determined by a final non-                               11.      Amendments. This Agreement and all
            appealable judgment of a court of competent                                    exhibits attached hereto may be amended only by
            jurisdiction.                                                                  a written agreement signed by Bank, Creditor,
                                                                                           and Customer.
            9.      Indemnification and Hold Harmless of
            Bank by Creditor. To the extent that an                                        12.     Notices.       (a) Any notice or other
            Indemnified Person is not promptly indemnified                                 communication (other than a Notice of Exclusive
            by Customer, Creditor shall indemnify and hold                                 Control which shall be delivered in accordance with
            harmless such Indemnified Person against any                                   Section 12(b) hereof) provided for or allowed
            and all Claims arising from any Notice of                                      hereunder shall be in writing and shall be
            Exclusive Control from Creditor; provided that no                              considered to have been validly delivered (i) when
            Indemnified Person shall be entitled to be                                     received if delivered to the address set forth within
            indemnified for any Claims to the extent that such                             the signature section of the applicable party hereto
            Claims result from the gross negligence or willful                             at the end of this Agreement via hand delivery,




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                                                                                              Deposit Account Control Agreement

            messenger, overnight delivery or email, or (ii) 72                             all prior communications, whether verbal or written,
            hours after being deposited in the United States                               between any of the parties hereto with respect to
            mail, registered or certified, postage prepaid, return                         the subject matter hereof shall be of no further
            receipt requested, if sent to the address set forth                            effect or evidentiary value.
            within the signature section of the applicable party
            hereto at the end of this Agreement. In the case of                            15.      Counterparts; Electronic Signatures.
            any notice or other communication sent by Bank to                              This Agreement may be executed by one or more
            another party hereto in accordance with this                                   of the parties hereto on any number of separate
            Section 12(a) (including statements delivered                                  counterparts, and all of said counterparts taken
            pursuant to Section 6 hereof) which is returned as                             together shall be deemed to constitute one and
            undelivered, Bank shall have no obligation to                                  the same instrument. Delivery of an executed
            investigate or inquire as to the appropriate                                   signature page of this Agreement by facsimile or
            alternative delivery information for the recipient and                         other electronic mail transmission shall be
            Bank shall be permitted to retain or shred such                                effective as delivery of a manually executed
            undelivered notice or other communication.                                     counterpart hereof. The words “execution,”
                                                                                           “signed,” “signature” and words of like import
                      (b)      A Notice of Exclusive Control shall                         herein shall be deemed to include electronic
            be (i) in writing, (ii) substantially in form and                              signatures, including any Electronic Signature as
            substance as set forth in Exhibit A hereto, (iii)                              defined in the Electronic Transactions Law (2003
            delivered to the address set forth within Bank’s                               Revision) of the Cayman Islands (the “Cayman
            signature section at the end of this Agreement via                             Islands Electronic Signature Law”), or the
            hand delivery, messenger, overnight delivery or                                keeping of records in electronic form, including
            email, and (iv) considered to have been validly                                any Electronic Record, as defined in Cayman
            delivered when actually received, except that an                               Islands Electronic Signature Law, each of which
            email will be considered to have been validly                                  shall be of the same legal effect, validity and
            delivered only when Bank acknowledges receipt                                  enforceability as a manually executed signature
            thereof to Creditor. To the extent Creditor does not                           or the use of a paper-based recordkeeping
            deliver a Notice of Exclusive Control in accordance                            systems, as the case may be, to the extent and
            with this Section 12(b), Creditor (x) acknowledges                             as provided for in any applicable law, including,
            that Bank may not be able to respond to such                                   without limitation, any state law based on the
            Notice of Exclusive Control pursuant to Section 4                              Uniform Electronic Transactions Act or the
            hereof, and (y) agrees that Bank will not be held                              Cayman Islands Electronic Signature Law;
            liable for any failure to respond to such Notice of                            provided, however that sections 8 and 19(3) of
            Exclusive Control.                                                             the Cayman Islands Electronic Signature Law
                                                                                           shall not apply to this Agreement or the execution
                    (c)       The addresses and emails to                                  or delivery thereof.
            which notices or other communications are to be
            delivered (including statements delivered pursuant                             16.      Relationship of the Parties. Nothing in
            to Section 6 hereof and a Notice of Exclusive                                  this Agreement shall create any agency or
            Control delivered pursuant to Section 12(b) hereof)                            fiduciary relationship between Customer,
            may be changed from time to time by notice                                     Creditor and Bank.
            delivered as provided herein.
                                                                                           17.      Governing Law and Jurisdiction. The
            13.      Compliance with Law.            Each of                               parties hereto agree that this Agreement shall be
            Customer and Creditor agrees that it will promptly                             governed exclusively under and in accordance with
            provide Bank with all documents requested by                                   the laws of the State of California. Each party
            Bank if deemed necessary by Bank to enable Bank                                hereto submits to the exclusive jurisdiction of the
            to comply with applicable law, including the                                   State and Federal courts in Santa Clara County,
            provisions of Section 326 of the USA PATRIOT                                   California.
            Act, the Bank Secrecy Act and the rules and
            regulations promulgated thereunder.                                            18.   Jury Trial Waiver.   CUSTOMER,
                                                                                           CREDITOR, AND BANK EACH WAIVES ITS
            14.      Integration. This Agreement constitutes                               RIGHT TO A JURY TRIAL OF ANY CLAIM OR
            the entire agreement among Bank, Customer and                                  CAUSE OF ACTION ARISING OUT OF OR
            Creditor with respect to Creditor’s control over the                           BASED UPON THIS AGREEMENT, OR ANY
            Deposit Account and matters related thereto, and                               CONTEMPLATED             TRANSACTION,




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                                                                                              Deposit Account Control Agreement

            INCLUDING CONTRACT, TORT, BREACH OF                                            all discovery rules and orders applicable to
            DUTY AND ALL OTHER CLAIMS. THIS                                                judicial proceedings in the same manner as a trial
            WAIVER IS A MATERIAL INDUCEMENT FOR                                            court judge. The parties agree that the selected
            ALL PARTIES TO ENTER INTO THIS                                                 or appointed private judge shall have the power
            AGREEMENT. EACH PARTY HAS REVIEWED                                             to decide all issues in the action or proceeding,
            THIS WAIVER WITH ITS COUNSEL.                                                  whether of fact or of law, and shall report a
                                                                                           statement of decision thereon pursuant to the
            WITHOUT INTENDING IN ANY WAY TO LIMIT                                          California Code of Civil Procedure Section
            THE PARTIES’ AGREEMENT TO WAIVE THEIR                                          644(a). Nothing in this paragraph shall limit the
            RESPECTIVE RIGHT TO A TRIAL BY JURY, if                                        right of any party at any time to exercise self-help
            the above waiver of the right to a trial by jury is                            remedies, foreclose against collateral, or obtain
            not enforceable, the parties hereto agree that any                             provisional remedies. The private judge shall
            and all disputes or controversies of any nature                                also determine all issues relating to the
            between them arising at any time out of or based                               applicability, interpretation, and enforceability of
            upon this Agreement or any transaction                                         this paragraph.
            contemplated herein shall be decided by a
            reference to a private judge, mutually selected by                             19.      Successors.       The terms of this
            the parties (or, if they cannot agree, by the                                  Agreement shall be binding upon, and shall inure
            Presiding Judge of the Santa Clara County,                                     to the benefit of, the parties hereto and their
            California Superior Court) appointed in                                        respective corporate successors or heirs and
            accordance with California Code of Civil                                       personal representatives. Customer may not
            Procedure Section 638 (or pursuant to                                          assign this Agreement without the prior written
            comparable provisions of federal law if the                                    consent of Creditor and Bank. Creditor may
            dispute falls within the exclusive jurisdiction of the                         assign this Agreement upon written notice to
            federal courts), sitting without a jury, in Santa                              Bank; provided that such assignee must assume
            Clara County, California; and the parties hereby                               in writing or by operation of law all of Creditor’s
            submit to the jurisdiction of such court. The                                  obligations under this Agreement. Bank may
            reference proceedings shall be conducted                                       assign this Agreement upon written notice to
            pursuant to and in accordance with the provisions                              Customer and Creditor; provided that such
            of California Code of Civil Procedure Sections                                 assignee must assume in writing or by operation
            638 through 645.1, inclusive. The private judge                                of law all of Bank’s obligations under this
            shall have the power, among others, to grant                                   Agreement.
            provisional relief, including without limitation,
            entering temporary restraining orders, issuing                                 20.       Termination; Survival. Customer may
            preliminary and permanent injunctions and                                      terminate this Agreement only with the written
            appointing receivers. All such proceedings shall                               consent of Creditor. Creditor may terminate this
            be closed to the public and confidential and all                               Agreement by giving Bank and Customer written
            records relating thereto shall be permanently                                  notice of termination. Bank may terminate this
            sealed. If during the course of any dispute, a                                 Agreement by giving Creditor and Customer thirty
            party desires to seek provisional relief, but a                                (30) calendar days’ prior written notice of
            judge has not been appointed at that point                                     termination unless termination is a result of
            pursuant to the judicial reference procedures,                                 Bank’s closure of the Deposit Account pursuant
            then such party may apply to the Santa Clara                                   to its rights set forth in the Deposit Agreement or
            County, California Superior Court for such relief.                             in accordance with applicable law, in which case,
            The proceeding before the private judge shall be                               Creditor’s receipt of notice shall be governed by
            conducted in the same manner as it would be                                    Section 3 hereof. Subject to the foregoing, this
            before a court under the rules of evidence                                     Agreement automatically terminates when the
            applicable to judicial proceedings. The parties                                Deposit Account closes. Sections 7, 8, 9, 10, 13,
            shall be entitled to discovery which shall be                                  17 and 18 hereof and this Section 20 shall survive
            conducted in the same manner as it would be                                    the termination of this Agreement.
            before a court under the rules of discovery
                                                                                                         [Signature page follows]
            applicable to judicial proceedings. The private
            judge shall oversee discovery and may enforce




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                                                                                                Deposit Account Control Agreement

            This Agreement has been executed by the duly authorized representatives of Bank, Customer and
            Creditor as of the date specified below:

              CUSTOMER:             Gelesis, Inc.                                                                                               (name)

              Address for Notices:                                                    a ______________________ (jurisdiction of formation)
                                                                                         Delaware

                                                                                       Corporation
              _______________________________________
              501 Boylston Street, Suite 6102                                         ________________________________ (entity form)

              _______________________________________
              Boston, MA 02116                                                        TIN*: ___________________________________
                                                                                            XX-XXXXXXX

              _______________________________________
              Email: emaltz@gelesis.com
                     __________________________________
              Telephone: ______________________________
                         617-835-9195




                                                                                      By:
                                                                                                (must be an authorized signer on the current BDA)

                                                                                      Name: Elliot Maltz
                                                                                      Title:        Chief Financial Officer


              CREDITOR:            PureTech Health LLC                                                                                          (name)

              Address for Notices:                                                    a ______________________
                                                                                        Delaware               (jurisdiction of formation)

              _______________________________________
              6 Tide Street, Suite 400                                                ________________________________
                                                                                      LLC                              (entity form)

              _______________________________________
              Boston, MA 02210                                                        TIN*: ___________________________________
                                                                                            XX-XXXXXXX

              _______________________________________
              Email: __________________________________
                      charles.sherwood@puretechhealth.com

              Telephone: ______________________________
                         617.482.2333




                                                                                      By:
                                                                                      Name: Bharatt Chowrira
                                                                                      Title:        President, PureTech Health


                                                                           [BANK USE ONLY]
              BANK:                                                                    FIRST-CITIZENS BANK & TRUST COMPANY

              Address for Notices:
              Silicon Valley Bank, a division of
                                                                                       By:
              First-Citizens Bank & Trust Company
              Liquidity Account Management                                             Name: Kristina Larsen
              80 East Rio Salado Parkway, Mail Sort AZ145
              Tempe, AZ 85281                                                          Title:       Liquidity Account Manager
              Email: GroupControlAgreementSupport@svb.com                              Liquidity Account Management
              Telephone: (866) 719-9117
                                                                                       Date:        4/19/2023



            * Pursuant to Section 326 of the USA PATRIOT ACT, Bank is required to obtain Tax Identification
            Number (TIN) from all parties to this Agreement.


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                                                                                               Deposit Account Control Agreement

                                                                              EXHIBIT A

                                                   FORM OF NOTICE OF EXCLUSIVE CONTROL

            To:        Silicon Valley Bank, a division of First-Citizens Bank & Trust Company (“Bank”)
                       Liquidity Account Management
                       80 East Rio Salado Parkway, Mail Sort AZ145
                       Tempe, AZ 85281
                       Email: GroupControlAgreementSupport@svb.com

            From:                                                                                       (“Creditor”)
            Re:                                                                                         (“Customer”)
            Date:

            Pursuant to the Deposit Account Control Agreement dated as of _______________________
            (“Agreement”) among Bank, Customer and Creditor, Creditor hereby notifies Bank of Creditor’s exercise of
            Creditor’s rights under the Agreement to direct Bank to cease complying with instructions or any directions
            originated by Customer.

            Creditor hereby acknowledges and agrees that it shall promptly submit documentation acceptable to
            Bank that complies with Customer Due Diligence Requirements for Financial Institutions (31 CFR 1010,
            1020, 1023, 1024 and 1026), and provide Bank with any other documents requested by Bank if deemed
            necessary by Bank to enable Bank to comply with applicable law, including Section 326 of the USA
            PATRIOT Act, the Bank Secrecy Act and the rules and regulations promulgated thereunder.

            Creditor hereby certifies that the person executing this notice is an authorized representative of Creditor
            authorized to act on behalf of Creditor and to make the representations and agreements included herein.

              CREDITOR:                                                                                                      (name)




                                                                                      By:
                                                                                      Name:
                                                                                      Title:

              (if by email)                                                [BANK USE ONLY]

              ACKNOWLEDGED BY:                                                        FIRST-CITIZENS BANK & TRUST COMPANY



                                                                                      By:
                                                                                      Name:
                                                                                      Title:
              Date:                                                                   Liquidity Account Management
              Time:                                                                   Date:




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                                                                                              Deposit Account Control Agreement

                                                                              EXHIBIT B

                                                                         FEE SCHEDULE

                          Type of Fee*                                         Amount                                 Due

              Setup Fee**                                     $500                                      Payable through Account
                                                                                                        Analysis upon first month this
                                                                                                        Agreement is established

              Monthly Maintenance Fee                         $150 per account                          Payable monthly through
                                                                                                        Account Analysis during the
                                                                                                        term of this Agreement

              Exclusive Control Monthly                       $100 per account                          Payable monthly through
              Maintenance Fee                                                                           Account Analysis after delivery
                                                                                                        of Notice of Exclusive Control
                                                                                                        until termination of this
                                                                                                        Agreement

              Other service charges or fees in                Standard pricing under the                Payable monthly through
              connection with the Deposit                     Deposit Agreement                         Account Analysis
              Agreement, the Deposit Account
              or related services


            * All fees and charges are subject to change, from time to time, and at any time. Although Bank may
            typically give advance notice to Customer of any change, Bank reserves the right to make changes without
            advance notice to Customer and/or Creditor where permitted or needed or appropriate.

            ** An additional fee may be charged if special servicing arrangements are requested (Customer and/or
            Creditor will be notified if the additional fee applies at the time of the request).




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                        Gelesis, Inc. - Schedule A/B – Part 2, Section 8

                                         Prepayments

                  Prepayment                    Holder of          Current Value of
                                               Prepayment          Debtor’s Interest
              Software Subscription            Oracle, Inc.          $21,415.68*

*This prepaid software subscription is not refundable.




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                       Gelesis, Inc. - Schedule A/B – Part 4, Section 15

                               Investments in Non-Public Entities

              Name of Entity                % of          Valuation        Current Value of
                                          Ownership        Method          Debtor’s Interest
 Gelesis LLC                               99.15%           N/A               Unknown
 (Delaware LLC)
 Gelesis 2012 Inc.                           100%            N/A              Unknown
 (Delaware Corporation)
 Gelesis Securities Corporation              100%            N/A              Unknown
 (Massachusetts Securities Corporation)
 One S.r.l.                                    10%           N/A              Unknown
 (Italian S.r.l. Corporation)
 Gelesis S.r.l.                             79.60%       Book Value         $14,962,148.24
 (Italian S.r.l. Corporation)




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                  Gelesis, Inc. - Schedule A/B – Part 7, Sections 40 and 41

                                       Office Fixtures

                   Fixture                      Net Book     Valuation     Current Value of
                                                 Value        Method       Debtor’s Interest
 Video wall for office reception (not          $17,043.94    Book Value      $17,043.94
 installed)
 Leasehold improvement – living plant wall        $0.00      Book Value           $0.00*
 for office reception
                                                                TOTAL:         $17,043.94

*The Debtor does not believe that the leasehold improvement would have any market value.

                                      Office Equipment

                 Equipment                     Net Book     Valuation      Current Value of
                                                 Value       Method        Debtor’s Interest
 Cardiac AED defibrillator                       $0.00      Book Value         $0.00*
 Computer equipment                            $5,433.37    Book Value        $5,433.37
 Capitalized software                            $0.00      Book Value         $0.00*
                                                              TOTAL:          $5,433.37

*The Debtor does not believe that the cardiac AED defibrillator would have any salvage value
nor does it believe that the capitalized software would have any market value.




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                        Gelesis, Inc. - Schedule A/B – Part 11, Section 72

                                           Tax Assets

              Description                       Tax Years*                   Current Value of
                                                                             Debtor’s Interest
 Federal NOL                        Cumulative from 2007-2021                $112,527,301.00
 Federal R&D Tax Credit             Cumulative from 2016-2021                 $1,422,794.00
 MA State NOL                       Cumulative from 2010-2021                $159,372,305.00
 MA R&D Tax Credit                  Cumulative from 2016-2021                  $528,816.00
                                                         TOTAL:              $273,851,216.00


* The NOLs and Tax Credits for the year 2022 have been consolidated with Debtor Gelesis
Holdings, Inc.




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                          Gelesis, Inc. - Schedule A/B – Part 11, Section 77

                                        Executory Contracts

              Executory Contract                        Counterparty             Current Value
                                                                                  of Debtor’s
                                                                                    Interest
 Sublease (Office Space)                      PureTech Ventures, LLC              $837,999.97

 Settlement Agreement                         Joy Bauer                            Unknown
                                              c/o Creative Artists Agency

 Third Amended and Restated Supply            Roman Health Pharmacy, LLC           Unknown
 and Distribution Agreement,
 effective as of August 26, 2019
 Distribution Agreement                       Specialty Medical Drugstore, LLC     Unknown
                                              d/b/a GoGoMeds

 License, Collaboration, and Supply           CMS Bridging DMCC                    Unknown
 Agreement
 Settlement Agreement                         PQ Health Digital Solutions, LLC     Unknown

                                     Intercompany Receivables

                                Affiliate                      Current Value of
                                                              Debtor’s Interest in
                                                                  Receivable
                  Gelesis, LLC                                             $3,764.00
                  Gelesis 2012, Inc.                                      $13,870.56
                  Gelesis Securities Corp.                                 $1,288.38
                  Gelesis S.r.l.                                       $6,095,362.91
                  TOTAL:                                               $6,114,285.85




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  Fill in this information to identify the case:

              Gelesis, Inc.
  Debtor name __________________________________________________________________
                                                                             Delaware
  United States Bankruptcy Court for the: ______________________ District of _________
                                                                                         (State)

  Case number (If known):      _________________________
                                                                                                                                                             Check if this is an
                                                                                                                                                                amended filing
 Official Form 206D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                 12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
        No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.

 Part 1:       List Creditors Who Have Secured Claims
                                                                                                                                       Column A                Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                        Amount of claim         Value of collateral
                                                                                                                                       Do not deduct the value that supports this
                                                                                                                                       of collateral.          claim
2.1 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     PureTech Health LLC                                                                                             5,263,333.33                               Unknown
     __________________________________________
                                                                 All assets
                                                                ___________________________________________________ $__________________                        $_________________

    Creditor’s mailing address                                  ___________________________________________________

      6 Tide Street, Suite 400
     ________________________________________________________   ___________________________________________________
      Boston, MA 02210
     ________________________________________________________   Describe the lien
                                                                 Senior secured lien granted in connection with Note and Warrant Purchase Agreement
                                                                 __________________________________________________
    Creditor’s email address, if known                          Is the creditor an insider or related party?
     charles.sherwood@puretechhealth.com
     _________________________________________
                                                                 No
                                                                 Yes
                           02/21/2023
    Date debt was incurred __________________                   Is anyone else liable on this claim?
                                                                 No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.
     No                                                         Contingent
     Yes. Specify each creditor, including this creditor,       Unliquidated
             and its relative priority.                          Disputed
             ___________________________________
             ___________________________________

2.2 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     PureTech Health LLC
     __________________________________________                 All assets                                           2,120,000.00
                                                                                                                    $__________________                         Unknown
                                                                                                                                                               $_________________
                                                                ___________________________________________________

    Creditor’s mailing address                                  ___________________________________________________
      6 Tide Street, Suite 400
     ________________________________________________________   ___________________________________________________
      Boston, MA 02210
     ________________________________________________________   Describe the lien
                                                                 Senior secured lien granted in connection with Note and Warrant Purchase Agreement
                                                                 __________________________________________________
    Creditor’s email address, if known                          Is the creditor an insider or related party?
     charles.sherwood@puretechhealth.com
     _________________________________________
                                                                 No
                                                                 Yes
                           05/01/2023
    Date debt was incurred __________________                   Is anyone else liable on this claim?

    Last 4 digits of account
                                                                 No
    number                   ___ ___ ___ ___
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                         Contingent
     Yes. Have you already specified the relative               Unliquidated
             priority?                                           Disputed
         No. Specify each creditor, including this
                 creditor, and its relative priority.
                 _________________________________
                 _________________________________
            Yes. The relative priority of creditors is
                 specified on lines _____

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                         12,411,033.33
                                                                                                                                        $________________
    Page, if any.


   Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                               3
                                                                                                                                                                  page 1 of ___
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  Debtor            Gelesis, Inc.
                    _______________________________________________________                                      Case number (if known)_____________________________________
                    Name



                                                                                                                                       Column A                Column B
 Part 1:        Additional Page                                                                                                        Amount of claim         Value of collateral
                                                                                                                                       Do not deduct the value that supports this
                                                                                                                                       of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.3 Creditor’s name                                             Describe debtor’s property that is subject to a lien

     PureTech Health LLC
     __________________________________________                  All assets
                                                                ___________________________________________________
                                                                                                                                       368,200.00
                                                                                                                                      $__________________       Unknown
                                                                                                                                                               $_________________
                                                                ___________________________________________________
    Creditor’s mailing address

      6 Tide Street, Suite 400
     ________________________________________________________
                                                                ___________________________________________________

      Boston, MA 02210
     ________________________________________________________   Describe the lien
                                                                 Senior secured lien granted in connection with Note and Warrant Purchase Agreement
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     charles.sherwood@puretechhealth.com
     _________________________________________
                                                                 No
                                                                 Yes

                           05/26/2023
    Date debt was incurred __________________                   Is anyone else liable on this claim?
                                                                 No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                         Contingent
     Yes. Have you already specified the relative               Unliquidated
               priority?                                         Disputed
            No. Specify each creditor, including this
                    creditor, and its relative priority.
                    _______________________________
                    _______________________________
                    _______________________________

            Yes. The relative priority of creditors is
                    specified on lines _____


2.4 Creditor’s name                                             Describe debtor’s property that is subject to a lien

     PureTech Health LLC
     __________________________________________
                                                                 All assets
                                                                ___________________________________________________
                                                                                                                                       3,139,000.00
                                                                                                                                      $__________________       Unknown
                                                                                                                                                               $_________________
    Creditor’s mailing address                                  ___________________________________________________

                                                                ___________________________________________________
      6 Tide Street, Suite 400
     ________________________________________________________

      Boston, MA 02210
     ________________________________________________________   Describe the lien
                                                                 Senior secured lien granted in connection with Note and Warrant Purchase Agreement
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     charles.sherwood@puretechhealth.com
     _________________________________________
                                                                 No
                                                                 Yes
                           06/12/2023
    Date debt was incurred __________________                   Is anyone else liable on this claim?
                                                                 No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                         Contingent
     Yes. Have you already specified the relative               Unliquidated
               priority?                                         Disputed
            No. Specify each creditor, including this
                    creditor, and its relative priority.
                    _______________________________
                    _______________________________
                    _______________________________

            Yes. The relative priority of creditors is
                    specified on lines _____



  Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                 2 of ___
                                                                                                                                                                  page ___  3
                                      Case 23-11788-BLS                       Doc 1          Filed 10/30/23                  Page 40 of 99
  Debtor            Gelesis, Inc.
                    _______________________________________________________                                      Case number (if known)_____________________________________
                    Name



                                                                                                                                       Column A                Column B
 Part 1:        Additional Page                                                                                                        Amount of claim         Value of collateral
                                                                                                                                       Do not deduct the value that supports this
                                                                                                                                       of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.5 Creditor’s name                                             Describe debtor’s property that is subject to a lien

     PureTech Health LLC
     __________________________________________                  All assets
                                                                ___________________________________________________
                                                                                                                                       1,520,500.00
                                                                                                                                      $__________________       Unknown
                                                                                                                                                               $_________________
                                                                ___________________________________________________
    Creditor’s mailing address

     6   Tide Street, Suite 400
     ________________________________________________________
                                                                ___________________________________________________

     Boston,         MA 02210
     ________________________________________________________   Describe the lien
                                                                 Senior secured lien granted in connection with Note and Warrant Purchase Agreement
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     charles.sherwood@puretechhealth.com
     _________________________________________
                                                                 No
                                                                 Yes

                           09/20/2023
    Date debt was incurred __________________                   Is anyone else liable on this claim?
                                                                 No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                         Contingent
     Yes. Have you already specified the relative               Unliquidated
               priority?                                         Disputed
            No. Specify each creditor, including this
                    creditor, and its relative priority.
                    _______________________________
                    _______________________________
                    _______________________________

            Yes. The relative priority of creditors is
                    specified on lines _____


2._ Creditor’s name                                             Describe debtor’s property that is subject to a lien


     __________________________________________
                                                                ___________________________________________________
                                                                                                                                      $__________________      $_________________
    Creditor’s mailing address                                  ___________________________________________________

                                                                ___________________________________________________
     ________________________________________________________

     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                 No
                                                                 Yes
    Date debt was incurred __________________                   Is anyone else liable on this claim?
                                                                 No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                         Contingent
     Yes. Have you already specified the relative               Unliquidated
               priority?                                         Disputed
            No. Specify each creditor, including this
                    creditor, and its relative priority.
                    _______________________________
                    _______________________________
                    _______________________________

            Yes. The relative priority of creditors is
                    specified on lines _____



  Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                 3 of ___
                                                                                                                                                                  page ___  3
                                      Case 23-11788-BLS                           Doc 1           Filed 10/30/23       Page 41 of 99
   Fill in this information to identify the case:

   Debtor           Gelesis, Inc.
                    __________________________________________________________________
                                                                              Delaware
   United States Bankruptcy Court for the: ______________________ District of __________
                                                                                              (State)
   Case number       ___________________________________________
    (If known)

                                                                                                                                                   Check if this is an
                                                                                                                                                      amended filing
  Official Form 206E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                             12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Part 1:         List All Creditors with PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
     No. Go to Part 2.
     Yes. Go to line 2.
 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                       Total claim                Priority amount
2.1 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                            Contingent
                                                                           Unliquidated
    ___________________________________________                            Disputed
    Date or dates debt was incurred                                       Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)


2.2 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                            Contingent
                                                                           Unliquidated
    ___________________________________________                            Disputed
    Date or dates debt was incurred                                       Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)


2.3 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                            Contingent
                                                                           Unliquidated
    ___________________________________________                            Disputed
    Date or dates debt was incurred                                       Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)




  Official Form 206E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                  14
                                                                                                                                                       page 1 of ___
               Gelesis, Inc.   Case 23-11788-BLS                   Doc 1          Filed 10/30/23                     Page 42 of 99
  Debtor       _______________________________________________________                                 Case number (if known)_____________________________________
               Name


 Part 2:    List All Creditors with NONPRIORITY Unsecured Claims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                                                Amount of claim

3.1 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                                                                                               3,800.00
                                                                                                                                              $________________________________
    916 Conseils
    ____________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
    2 rue Léchappé
    ____________________________________________________________  Disputed
     Croissy-Sur-Seine, France, 78290
    ____________________________________________________________
                                                                                                Website support
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            10/06/2023
                                               ___________________         Is the claim subject to offset?
                                                                            No
    Last 4 digits of account number            ___ ___ ___ ___              Yes
3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                                                                                               295.00
                                                                                                                                              $________________________________
    Advarra, Inc.
    ____________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
    6100 Merriweather Drive, Suite 600
    ____________________________________________________________  Disputed
     Columbia MD 21044
    ____________________________________________________________
                                                                                                Clinical study closeout
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            10/17/2023
                                               ___________________         Is the claim subject to offset?
                                                                            No
    Last 4 digits of account number            ___ ___ ___ ___              Yes
3.3 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                                                                                               118,875.83
                                                                                                                                              $________________________________
    Alessandra Bini
    ____________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
    Via Sottocorno 2, 20129
    ____________________________________________________________  Disputed
     Milano ITALY
    ____________________________________________________________                                Purchase of interest in Gelesis S.r.l.
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            03/31/2023
                                               ___________________         Is the claim subject to offset?
                                                                            No
    Last 4 digits of account number            ___ ___ ___ ___              Yes
3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:                       1,479,119.60
                                                                                                                                              $________________________________
    Alessandro Sannino
    ____________________________________________________________
                                                                           Check all that apply.
                                                                            Contingent
                                                                            Unliquidated
    Via Fiesole 32, 73010
    ____________________________________________________________  Disputed
    Lecce ITALY
    ____________________________________________________________
                                                                                                     Purchase of interest in Gelesis S.r.l.
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            03/31/2023
                                               ___________________         Is the claim subject to offset?
                                                                            No
    Last 4 digits of account number            ___ ___ ___ ___              Yes
3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:                       733,904.11
                                                                                                                                              $________________________________
    Autajon Packaging-Boston Corp
    ____________________________________________________________
                                                                           Check all that apply.
                                                                            Contingent
    100 Northwest Blvd
    ____________________________________________________________
                                                                  Unliquidated
                                                                  Disputed
    Nashua, NH, 03063
    ____________________________________________________________
                                                                                                Packaging and storage
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            03/01/2023
                                               ___________________         Is the claim subject to offset?
                                                                            No
    Last 4 digits of account number            ___ ___ ___ ___              Yes
3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:                       11,950.86
                                                                                                                                              $________________________________
    Avania USA Group, LLC
    ____________________________________________________________
                                                                 Check all that apply.
                                                                  Contingent
    100 Crowley Drive, Suite 216
    ____________________________________________________________
                                                                  Unliquidated
                                                                  Disputed
     Marlborough, MA, 01752
    ____________________________________________________________
                                                                                                Clinical R&D consultant
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            01/09/2023
                                               ___________________         Is the claim subject to offset?
                                                                            No
    Last 4 digits of account number            ___ ___ ___ ___              Yes


    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                                                      2 of ___
                                                                                                                                                                     page __   14
               Gelesis, Inc.  Case 23-11788-BLS                Doc 1       Filed 10/30/23             Page 43 of 99
  Debtor       _______________________________________________________                      Case number (if known)_____________________________________
               Name



 Part 2:   Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                          Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  7 Nonpriority creditor’s name and mailing address
3.__                                                                As of the petition filing date, the claim is:
                                                                    Check all that apply.                               141,931.50
                                                                                                                       $________________________________
     BDO USA LLP
     ___________________________________________________________  Contingent
                                                                  Unliquidated
                                                                  Disputed
     5300 Patterson Ave SE, Suite 100
     ___________________________________________________________  Liquidated and neither contingent nor
      Grand Rapids, MI, 49512
     ___________________________________________________________        disputed
                                                                                         Internal and tax consulting
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         03/01/2023
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

  8 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:       13,125.09
                                                                 Check all that apply.                                 $________________________________
     Boston HelpDesk
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     803 Summer Street
     ___________________________________________________________  Disputed
      Boston, MA, 02127
     ___________________________________________________________
                                                                                         IT and software licenses
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         02/09/2023
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

  9 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                                                                        6,635.50
                                                                                                                       $________________________________
     Brandwatch dba Runtime Collective Ltd
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     1st Floor Sovereign House, Church Street  Disputed
     ___________________________________________________________
      Brighton, E Sussex, GB, BN1 1 UJ
     ___________________________________________________________
                                                                                         Marketing Analytics
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         05/01/2023
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes
  10
3.__ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:       226,049.33
                                                                                                                       $________________________________
     Cardinal Health 105, Inc.
     ___________________________________________________________
                                                                    Check all that apply.
                                                                  Contingent
                                                                  Unliquidated
     PO Box 978709
     ___________________________________________________________  Disputed
      Dallas, TX, 75397
     ___________________________________________________________
                                                                                         3PL distribution
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         12/14/2022
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

  11
3.__ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:       72,463.00
                                                                                                                       $________________________________
     Centerpiece Holdings, LLC
     ___________________________________________________________
                                                                    Check all that apply.
                                                                  Contingent
                                                                  Unliquidated
     440 Stevens Ave, #200
     ___________________________________________________________  Disputed
      Solana Beach, CA, 92075
     ___________________________________________________________
                                                                                         Packaging and storage
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         10/17/2023
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes




    Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                                   3 of ___
                                                                                                                                              page __   14
               Gelesis, Inc.  Case 23-11788-BLS                Doc 1       Filed 10/30/23             Page 44 of 99
  Debtor       _______________________________________________________                      Case number (if known)_____________________________________
               Name



 Part 2:   Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  12
3.__ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                            27,810.00
                                                                                                                    $________________________________
     CFGI Holdings, LLC
     ___________________________________________________________  Contingent
                                                                  Unliquidated
                                                                  Disputed
     1 Lincoln Street, Ste 1301
     ___________________________________________________________  Liquidated and neither contingent nor
      Boston, MA, 02111
     ___________________________________________________________        disputed

                                                                                         Accounting consulting
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         01/01/2023
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

  13
3.__ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:    316.00
                                                                 Check all that apply.                              $________________________________
     Creative Interior Plantscapes
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     1 Olean Road
     ___________________________________________________________  Disputed
      Burlington, MA, 01803
     ___________________________________________________________
                                                                                         Plants in office
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         10/01/2023
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

  14
3.__ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                                                                     975.00
                                                                                                                    $________________________________
     Crown Castle Fiber LLC
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     1220 Augusta Drive, Suite 600
     ___________________________________________________________  Disputed
      Houston, TX, 77057
     ___________________________________________________________
                                                                                         Internet
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         10/01/2023
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes
  15
3.__ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:    150.00
                                                                                                                    $________________________________
     CSC Global
     ___________________________________________________________
                                                                    Check all that apply.
                                                                  Contingent
                                                                  Unliquidated
     P.O. Box 7410023
     ___________________________________________________________  Disputed
      Chicago, IL, 60674-5023
     ___________________________________________________________
                                                                                         State registration costs
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         09/26/2023
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

  16
3.__ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:    23,967.26
                                                                                                                    $________________________________
     Daniel F. Young, Incorporated
     ___________________________________________________________
                                                                    Check all that apply.
                                                                  Contingent
                                                                  Unliquidated
     1235 Westlakes Drive, Suite 305
     ___________________________________________________________  Disputed
      Berwyn, PA, 19312
     ___________________________________________________________
                                                                                         Product shipment
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         03/01/2023
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes




    Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                                  4 of ___
                                                                                                                                             page __   14
               Gelesis, Inc.  Case 23-11788-BLS                Doc 1       Filed 10/30/23                 Page 45 of 99
  Debtor       _______________________________________________________                         Case number (if known)_____________________________________
               Name



 Part 2:   Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                                   Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  17
3.__ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                                        9,250.00
                                                                                                                                $________________________________
     DCF Group LLC
     ___________________________________________________________  Contingent
                                                                  Unliquidated
                                                                  Disputed
     29 Water Street, Suite 303
     ___________________________________________________________  Liquidated and neither contingent nor
      Newburyport, MA, 01950
     ___________________________________________________________        disputed

                                                                                         Financial Valuations
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         01/01/2023
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

  18
3.__ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:                22,050.00
                                                                 Check all that apply.                                          $________________________________
     Deloitte Tax LLP
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     P.O. Box 844736
     ___________________________________________________________  Disputed
      DALLAS, TX 75284
     ___________________________________________________________
                                                                                         Tax consulting
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         03/31/2023
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

  19
3.__ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                                                                                 62,181.25
                                                                                                                                $________________________________
     Donnelley Financial, LLC
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     35 W Wacker Drive
     ___________________________________________________________  Disputed
      Chicago, IL, 60601
     ___________________________________________________________                         VDR and financial reporting platform
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         02/07/2023
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes
  20
3.__ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:                22,225.08
                                                                                                                                $________________________________
     Elmore Patent Law Group, PC
     ___________________________________________________________
                                                                    Check all that apply.
                                                                  Contingent
                                                                  Unliquidated
     Jennifer Rogers, 484 Groton Road
     ___________________________________________________________  Disputed
      Westford, MA, 01886
     ___________________________________________________________
                                                                                         Patent maintenance
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         02/01/2023
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

  21
3.__ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:                32,200.00
                                                                                                                                $________________________________
     G&M Health LLC
     ___________________________________________________________
                                                                    Check all that apply.
                                                                  Contingent
                                                                  Unliquidated
     505 Lake Lynda Drive, Suite 200 Room 235  Disputed
     ___________________________________________________________
      Orlando, FL, 32817
     ___________________________________________________________
                                                                                         HCP Compliance consulting
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         05/03/2023
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes




    Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                                            5 of ___
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                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  22
3.__ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                            73,197,494.61
                                                                                                                    $________________________________
     Gelesis Holdings, Inc.
     ___________________________________________________________  Contingent
                                                                  Unliquidated
                                                                  Disputed
     501 Boylston St Suite 6102
     ___________________________________________________________  Liquidated and neither contingent nor
      Boston MA 02116
     ___________________________________________________________        disputed

                                                                                         Intercompany payable
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         Various
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

  23
3.__ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:    91,860.28
                                                                 Check all that apply.                              $________________________________
     Gelesis LLC
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     501 Boylston St Suite 6102
     ___________________________________________________________  Disputed
      Boston MA 02116
     ___________________________________________________________
                                                                                         Intercompany payable
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         Various
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

  24
3.__ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                                                                     7,268,776.69
                                                                                                                    $________________________________
     Gelesis Srl
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     'Via Europa 187 z.i., 73021
     ___________________________________________________________  Disputed
      Calimera (LE), Italy
     ___________________________________________________________
                                                                                         Intercompany payable
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         Various
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes
  25
3.__ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:    3,432.00
                                                                                                                    $________________________________
     GTM Technologies
     ___________________________________________________________
                                                                    Check all that apply.
                                                                  Contingent
                                                                  Unliquidated
     145 Butternut Hollow
     ___________________________________________________________  Disputed
      Acton, MA, 01718
     ___________________________________________________________
                                                                                         Process engineering
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         09/30/2023
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

  26
3.__ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:    39,000.00
                                                                                                                    $________________________________
     ICR Opco, LLC
     ___________________________________________________________
                                                                    Check all that apply.
                                                                  Contingent
                                                                  Unliquidated
     761 Main Avenue
     ___________________________________________________________  Disputed
      Norwalk, CT, 06851
     ___________________________________________________________
                                                                                         ELOC broker fee and IR
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         12/02/2022
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes




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                                                                                                                               Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  27
3.__ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                                    425.00
                                                                                                                            $________________________________
     IVR Technology Group LLC
     ___________________________________________________________  Contingent
                                                                  Unliquidated
                                                                  Disputed
     65 Lawrence Bell Drive, Suite 102
     ___________________________________________________________  Liquidated and neither contingent nor
      Amherst, NY, 14221
     ___________________________________________________________        disputed
                                                                                         Interactive customer call center
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         09/30/2023
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

  28
3.__ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:            300,000.00
                                                                 Check all that apply.                                      $________________________________
     Joy Bauer Ventures Inc.
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     c/o Creative Artists Agency, 2000 Avenue of the Stars  Disputed
     ___________________________________________________________
      Los Angeles, CA, 90067
     ___________________________________________________________
                                                                                         Spokesperson and online content
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         12/27/21
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

  29
3.__ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                                                                             5,160.00
                                                                                                                            $________________________________
     Ken Fujioka
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     2409 Montgomery Ave
     ___________________________________________________________  Disputed
      Cardiff, CA, 92007
     ___________________________________________________________
                                                                                         Scientific Advisory
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         05/01/2023
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes




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                                                                                                                                          Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  30
3.__ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                                               50,000.00
                                                                                                                                       $________________________________
     KPMG LLP
     ___________________________________________________________  Contingent
                                                                  Unliquidated
                                                                  Disputed
     Two Financial Center, 60 South Street
     ___________________________________________________________  Liquidated and neither contingent nor
      Boston, MA, 02111
     ___________________________________________________________        disputed

                                                                                         Auditors
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         02/23/2023
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

  31
3.__ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:                       35,662.58
                                                                 Check all that apply.                                                 $________________________________
     Locke Lord LLP
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     24259 Network Place
     ___________________________________________________________  Disputed
      Chicago, IL, 60673-1242
     ___________________________________________________________
                                                                                         Trademarks
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         01/09/2023
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

  32
3.__ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                                                                                        422,605.60
                                                                                                                                       $________________________________
     Luigi Ambrosio
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     Via Leopardi, 28, 80044
     ___________________________________________________________  Disputed
      Ottaviano (NA), Italy
     ___________________________________________________________                         Purchase of interest in Gelesis S.r.l.
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         03/31/2023
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes
  33
3.__ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:                       422,605.60
                                                                                                                                       $________________________________
     Luigi Nicolais
     ___________________________________________________________
                                                                    Check all that apply.
                                                                  Contingent
                                                                  Unliquidated
     Via Semmola, 83, 80056
     ___________________________________________________________  Disputed
      Ercolano (NA), Italy
     ___________________________________________________________
                                                                                              Purchase of interest in Gelesis S.r.l.
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         03/31/2023
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

  34
3.__ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:                       29,333.32
                                                                                                                                       $________________________________
     MADASH LLC
     ___________________________________________________________
                                                                    Check all that apply.
                                                                  Contingent
                                                                  Unliquidated
     7 Coach Road
     ___________________________________________________________  Disputed
      Lexington, MA, 02420
     ___________________________________________________________
                                                                                         Regulatory consulting
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         01/01/2023
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes




    Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                                                   8 of ___
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                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  35
3.__ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                            41,132.88
                                                                                                                    $________________________________
     MCPHS University
     ___________________________________________________________  Contingent
                                                                  Unliquidated
                                                                  Disputed
     Attn: Kevin George, 179 Longwood Avenue  Liquidated and neither contingent nor
     ___________________________________________________________
      BOSTON, MA 02115
     ___________________________________________________________        disputed
                                                                                         MCPHS fellowship program
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         04/14/2023
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

  36
3.__ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:    4,752.00
                                                                 Check all that apply.                              $________________________________
     Morgan Stanley Capital Management, LLC
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     Solium Plan Managers LLC, Dept 3542, PO Box 123542  Disputed
     ___________________________________________________________
      Dallas, TX, 75312-3542
     ___________________________________________________________
                                                                                         Stock Plan management
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         09/25/2023
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

  37
3.__ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                                                                     355.00
                                                                                                                    $________________________________
     Notary & Apostille Service, Inc.
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     409 44th Street
     ___________________________________________________________  Disputed
      Copiague, NY, 11726-1009
     ___________________________________________________________
                                                                                         Notary services
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         04/19/2023
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes
  38
3.__ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:    51,177.05
                                                                                                                    $________________________________
     One S.R.L.
     ___________________________________________________________
                                                                    Check all that apply.
                                                                  Contingent
                                                                  Unliquidated
     Via Tortona N. 25 - Deloitte Touche S.R.L.  Disputed
     ___________________________________________________________
      Milano, Italy 20144
     ___________________________________________________________
                                                                                         Royalties
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         02/27/2023
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

  39
3.__ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:    163,427.72
                                                                                                                    $________________________________
     Optimizely Inc.
     ___________________________________________________________
                                                                    Check all that apply.
                                                                  Contingent
                                                                  Unliquidated
     631 Howard Street, Suite 100
     ___________________________________________________________  Disputed
      San Francisco, CA, 94105
     ___________________________________________________________
                                                                                         Marketing analytics
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         05/01/2023
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes




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                                                                                                                                     Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  40
3.__ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                                          50,260.06
                                                                                                                                  $________________________________
     Oracle America, Inc.
     ___________________________________________________________  Contingent
                                                                  Unliquidated
                                                                  Disputed
     PO Box 203448
     ___________________________________________________________  Liquidated and neither contingent nor
      Dallas, TX, 75320-3448
     ___________________________________________________________        disputed

                                                                                         Financial software
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         05/05/2023
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

  41
3.__ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:                  79,238.55
                                                                 Check all that apply.                                            $________________________________
     Paolo De Carlo
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     Via Terenzio, 12, 20133
     ___________________________________________________________  Disputed
      Milano, ITALY
     ___________________________________________________________                         Purchase of interest in Gelesis S.r.l.
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         03/31/2023
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

  42
3.__ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                                                                                   122,994.35
                                                                                                                                  $________________________________
     Parexel International (IRL) Limited
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     One   Kilmainham   Square,  Inchicore  Road,  Kilmainham
     ___________________________________________________________  Disputed
      DUBLIN 8, Ireland
     ___________________________________________________________
                                                                                         Pharmacovigilence
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         01/09/2023
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes
  43
3.__ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:                  15,000.00
                                                                                                                                  $________________________________
     PQ Health Digital Solutions, LLC
     ___________________________________________________________
                                                                    Check all that apply.
                                                                  Contingent
                                                                  Unliquidated
     100 Crescent Rd.
     ___________________________________________________________  Disputed
      Needham, MA, 02494
     ___________________________________________________________
                                                                                         HCP launch symposium
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         11/01/2022
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

  44
3.__ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:                  679,638.95
                                                                                                                                  $________________________________
     PureTech Health LLC
     ___________________________________________________________
                                                                    Check all that apply.
                                                                  Contingent
                                                                  Unliquidated
     6 Tide Street, Suite 400
     ___________________________________________________________  Disputed
      Boston, MA, 02210
     ___________________________________________________________
                                                                                         Royalties, rent, and related costs
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         11/01/2022
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  45
3.__ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                                           1,275.00
                                                                                                                                   $________________________________
     Q4 Inc.
     ___________________________________________________________  Contingent
                                                                  Unliquidated
                                                                  Disputed
     PO Box 771873
     ___________________________________________________________  Liquidated and neither contingent nor
      Chicago, IL, 60677-1873
     ___________________________________________________________        disputed

                                                                                         Q4 2022 Earnings PR
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         10/22/2023
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

  46
3.__ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:                   161,770.00
                                                                 Check all that apply.                                             $________________________________
     Reliable Pharmaceutical Returns, LLC
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     1443 Donelson Pike
     ___________________________________________________________  Disputed
      Nashville, TN, 37217
     ___________________________________________________________
                                                                                         Expired product destruction
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         10/17/2023
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

  47
3.__ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                                                                                    1,579,498.87
                                                                                                                                   $________________________________
     Roman Health Ventures, Inc.
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     116 W 23rd St, FL 4
     ___________________________________________________________  Disputed
      New York, NY, 10011
     ___________________________________________________________
                                                                                         Advertising
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         01/01/2023
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes
  48
3.__ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:                   23,760,892.00
                                                                                                                                   $________________________________
     Roman Health Ventures, Inc.
     ___________________________________________________________
                                                                    Check all that apply.
                                                                  Contingent
                                                                  Unliquidated
     116 W 23rd St, FL 4
     ___________________________________________________________  Disputed
      New York, NY, 10011
     ___________________________________________________________
                                                                                              Customer advance payment liability
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         07/01/2021
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

  49
3.__ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:                   118,857.83
                                                                                                                                   $________________________________
     Sabina Enoizi
     ___________________________________________________________
                                                                    Check all that apply.
                                                                  Contingent
                                                                  Unliquidated
     Via Terenzio, 12, 20133
     ___________________________________________________________  Disputed
      Milano, ITALY
     ___________________________________________________________
                                                                                         Purchase of interest in Gelesis S.r.l.
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         03/31/2023
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes




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                                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  50
3.__ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                                              5,771.25
                                                                                                                                      $________________________________
     SciLucent, Inc
     ___________________________________________________________  Contingent
                                                                  Unliquidated
                                                                  Disputed
     585 Grove St., Suite 300
     ___________________________________________________________  Liquidated and neither contingent nor
      Herndon, VA, 20170
     ___________________________________________________________        disputed
                                                                                         Medical Affairs consulting
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         09/08/2023
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

  51
3.__ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:                      1,912.50
                                                                 Check all that apply.                                                $________________________________
     Smartsheet Inc.
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     PO Box 123421, Dept 3421
     ___________________________________________________________  Disputed
      Dallas, TX, 75312
     ___________________________________________________________
                                                                                         Software program
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         09/07/2023
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

  52
3.__ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                                                                                       500.00
                                                                                                                                      $________________________________
     Standard Retirement Services, Inc.
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     75 Remittance Drive, Suite 1892
     ___________________________________________________________  Disputed
      Chicago, IL, 60675-1892
     ___________________________________________________________
                                                                                         401(k) administrator
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         10/06/2023
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes
  53
3.__ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:                      211,593.86
                                                                                                                                      $________________________________
     Stephen Gould Corporation
     ___________________________________________________________
                                                                    Check all that apply.
                                                                  Contingent
                                                                  Unliquidated
     35 South Jefferson Road
     ___________________________________________________________  Disputed
      Whippany, NJ, 07981
     ___________________________________________________________
                                                                                         Packaging and storage
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         03/10/2023
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

  54
3.__ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:                      551,484.95
                                                                                                                                      $________________________________
     Syneos Health US Inc.
     ___________________________________________________________
                                                                    Check all that apply.
                                                                  Contingent
                                                                  Unliquidated
     500 Atrium Drive
     ___________________________________________________________  Disputed
      Somerset, NJ, 08873
     ___________________________________________________________                            HCP salesforce and commercial dashboard
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         01/01/2023
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes




    Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                                                  12
                                                                                                                                                             page __    14
                                                                                                                                                                     of ___
               Gelesis, Inc.  Case 23-11788-BLS                Doc 1       Filed 10/30/23             Page 53 of 99
  Debtor       _______________________________________________________                      Case number (if known)_____________________________________
               Name



 Part 2:   Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  55
3.__ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              635,983.05
                                                                                                                      $________________________________
     Telerx Marketing Inc.
     ___________________________________________________________  Contingent
                                                                  Unliquidated
                                                                  Disputed
     PO Box 8500-53888
     ___________________________________________________________  Liquidated and neither contingent nor
      Philadelphia, PA, 19178
     ___________________________________________________________        disputed

                                                                                         Pharmacovigilence
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         12/19/2022
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

  56
3.__ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:      20,000.00
                                                                 Check all that apply.                                $________________________________
     Trinity Partners, LLC
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     230 Third Avenue
     ___________________________________________________________  Disputed
      Waltham, MA, 02451
     ___________________________________________________________
                                                                                         Forecast models for launch
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         12/19/2022
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

  57
3.__ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                                                                       12,350.00
                                                                                                                      $________________________________
     University of Alabama at Birmingham
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     801 5th Ave South, Room 251
     ___________________________________________________________  Disputed
      Birmingham, AL, 35233
     ___________________________________________________________
                                                                                         Clinical study protocol
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         01/01/2023
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

3.__ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                             $________________________________
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     ___________________________________________________________  Disputed

     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes


3.__ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                             $________________________________
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     ___________________________________________________________  Disputed

     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes




    Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                                  13
                                                                                                                                             page __    14
                                                                                                                                                     of ___
               Gelesis, Inc.   Case 23-11788-BLS            Doc 1        Filed 10/30/23     Page 54 of 99
 Debtor        _______________________________________________________             Case number (if known)_____________________________________
               Name



Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                           Total of claim amounts



5a. Total claims from Part 1                                                                  5a.
                                                                                                            0.00
                                                                                                           $_____________________________




5b. Total claims from Part 2                                                                  5b.    +      113,145,507.95
                                                                                                           $_____________________________




5c. Total of Parts 1 and 2                                                                                  113,145,507.95
                                                                                              5c.          $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                          14
                                                                                                                                    page __    14
                                                                                                                                            of ___
                               Case 23-11788-BLS                             Doc 1             Filed 10/30/23          Page 55 of 99

 Fill in this information to identify the case:

             Gelesis, Inc.
 Debtor name __________________________________________________________________

                                                                                            Delaware
 United States Bankruptcy Court for the:______________________ District of                  _______
                                                                                           (State)
 Case number (If known):    _________________________                                 7
                                                                              Chapter _____



                                                                                                                                                  Check if this is an
                                                                                                                                                    amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                          12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
        Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                                              State the name and mailing address for all other parties with
                                                                                                         whom the debtor has an executory contract or unexpired lease


         State what the contract or       Sublease of debtor's office space
                                          ____________________________________                           PureTech Ventures, LLC
                                                                                                         _________________________________________________________
 2.1     lease is for and the nature
         of the debtor’s interest
                                          Debtor is sublessee
                                          ____________________________________                           6 Tide Street, Suite 400
                                                                                                         _________________________________________________________

                                          Through August 31, 2025
                                                                                                         Boston, Massachusetts 02110
                                                                                                         _________________________________________________________
         State the term remaining        ____________________________________
                                                                                                         Attn: Stephen M. Muniz
                                                                                                         _________________________________________________________
         List the contract number of
                                         ____________________________________                            _________________________________________________________
         any government contract


         State what the contract or       Settlement Agreement
                                          ____________________________________                           Joy Bauer
                                                                                                         _________________________________________________________
 2.2     lease is for and the nature
         of the debtor’s interest         ____________________________________                           c/o Creative Artists Agency
                                                                                                         _________________________________________________________
                                                                                                         405 Lexington Avenue, 19th Floor
                                                                                                         _________________________________________________________
         State the term remaining        N/A
                                         ____________________________________
                                                                                                         New York, NY 10174
                                                                                                         _________________________________________________________
         List the contract number of
         any government contract         ____________________________________                            _________________________________________________________


         State what the contract or       Distribution Agreement
                                          ____________________________________                           Specialty Medical Drugstore, LLC
                                                                                                         _________________________________________________________
 2.3     lease is for and the nature
         of the debtor’s interest
                                          Debtor is manufacturer of product to be distributed
                                          ____________________________________                           d/b/a GoGoMeds
                                                                                                         _________________________________________________________
                                                                                                         525 Alexandria Pike, Suite 100
                                                                                                         _________________________________________________________
         State the term remaining        Indefinitely until contract terminated
                                         ____________________________________
                                                                                                         Southgate, KY, 41071
                                                                                                         _________________________________________________________
         List the contract number of
                                         ____________________________________                            _________________________________________________________
         any government contract


 2.4
         State what the contract or       Third Amended and Restated Supply and Distribution Agreement
                                          ____________________________________                           Roman Health Pharmacy, LLC
                                                                                                         _________________________________________________________
         lease is for and the nature
         of the debtor’s interest
                                          Debtor is manufacturer of product to be distributed
                                          ____________________________________                           30-30 47th Avenue, Suite 535
                                                                                                         _________________________________________________________
                                                                                                         Long Island City, New York 11101
                                                                                                         _________________________________________________________
         State the term remaining        Indefinitely until contract terminated
                                         ____________________________________
                                                                                                         _________________________________________________________
         List the contract number of
                                         ____________________________________                            _________________________________________________________
         any government contract


         State what the contract or       License, Collaboration, and Supply Agreement
                                          ____________________________________                           CMS Bridging DMCC
                                                                                                         _________________________________________________________
 2.5     lease is for and the nature
         of the debtor’s interest
                                          Debtor is licensor
                                          ____________________________________                           Unit No: 205B, JBC1
                                                                                                         _________________________________________________________
                                                                                                         Plot No: JLT-PH1-G2A
                                                                                                         _________________________________________________________
         State the term remaining        Through June 18, 2040
                                         ____________________________________
                                                                                                         Jumeirah Lakes Towers
                                                                                                         _________________________________________________________
         List the contract number of
         any government contract         ____________________________________                            Dubai, UAE
                                                                                                         _________________________________________________________




Official Form 206G                           Schedule G: Executory Contracts and Unexpired Leases                                                               2
                                                                                                                                                      page 1 of ___
                               Case 23-11788-BLS            Doc 1        Filed 10/30/23        Page 56 of 99

Debtor         Gelesis, Inc.
               _______________________________________________________                Case number (if known)_____________________________________
               Name




          Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

       List all contracts and unexpired leases                                  State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired lease


         State what the contract or    Settlement Agreement
                                       ____________________________________     PQ Health Digital Solutions, LLC
                                                                                _________________________________________________________
 2.6     lease is for and the nature
         of the debtor’s interest      ____________________________________     100 Crescent Rd
                                                                                _________________________________________________________
                                                                                Needham, MA 02494
                                                                                _________________________________________________________
         State the term remaining      N/A
                                       ____________________________________
                                                                                _________________________________________________________
         List the contract number of
                                       ____________________________________     _________________________________________________________
         any government contract


         State what the contract or    ____________________________________     _________________________________________________________
 2._     lease is for and the nature
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                _________________________________________________________
         State the term remaining      ____________________________________
                                                                                _________________________________________________________
         List the contract number of
                                       ____________________________________     _________________________________________________________
         any government contract


         State what the contract or    ____________________________________     _________________________________________________________
 2._     lease is for and the nature
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                _________________________________________________________
         State the term remaining      ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________


         State what the contract or    ____________________________________     _________________________________________________________
 2._     lease is for and the nature
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                _________________________________________________________
         State the term remaining      ____________________________________
                                                                                _________________________________________________________
         List the contract number of
                                       ____________________________________     _________________________________________________________
         any government contract


         State what the contract or    ____________________________________     _________________________________________________________
 2._     lease is for and the nature
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                _________________________________________________________
         State the term remaining      ____________________________________
                                                                                _________________________________________________________
         List the contract number of
                                       ____________________________________     _________________________________________________________
         any government contract

         State what the contract or    ____________________________________     _________________________________________________________
 2._     lease is for and the nature
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                _________________________________________________________
         State the term remaining      ____________________________________
                                                                                _________________________________________________________
         List the contract number of
                                       ____________________________________     _________________________________________________________
         any government contract

         State what the contract or    ____________________________________     _________________________________________________________
 2._     lease is for and the nature
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                _________________________________________________________
         State the term remaining      ____________________________________
                                                                                _________________________________________________________
         List the contract number of
                                       ____________________________________     _________________________________________________________
         any government contract



 Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                                         2 of ___
                                                                                                                                 page ___  2
                                Case 23-11788-BLS                   Doc 1        Filed 10/30/23             Page 57 of 99
 Fill in this information to identify the case:

             Gelesis, Inc.
 Debtor name __________________________________________________________________

                                                                            Delaware
 United States Bankruptcy Court for the:_______________________ District of ________
                                                                                (State)
 Case number (If known):    _________________________




                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Schedule H: Codebtors                                                                                                                                    12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
        No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        Yes
 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:


 2.1     Gelesis Holdings, Inc.
         _____________________         501 Boylston Street
                                      ________________________________________________________             PureTech Health LLC
                                                                                                           _____________________              D
                                      Street                                                                                                  E/F
                                       Suite 6102
                                      ________________________________________________________                                                G
                                       Boston                  MA              02116
                                      ________________________________________________________
                                      City                        State               ZIP Code

 2.2
          Gelesis, LLC
         _____________________        501 Boylston Street
                                      ________________________________________________________             PureTech Health LLC
                                                                                                           _____________________              D
                                      Street                                                                                                  E/F
                                       Suite 6102
                                      ________________________________________________________                                                G
                                       Boston                  MA              02116
                                      ________________________________________________________
                                      City                        State               ZIP Code

 2.3
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                  E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code

 2.4
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                  E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code

 2.5
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                  E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code

 2.6
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                  E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code




Official Form 206H                                               Schedule H: Codebtors                                                                    1
                                                                                                                                                page 1 of ___
                               Case 23-11788-BLS                     Doc 1         Filed 10/30/23            Page 58 of 99


Fill in this information to identify the case:

            Gelesis, Inc.
Debtor name __________________________________________________________________
                                                                           Delaware
United States Bankruptcy Court for the: ______________________ District of _________
                                                                              (State)
Case number (If known):   _________________________



                                                                                                                                             Check if this is an
                                                                                                                                               amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                        04/22

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


   Part 1:        Income



   1. Gross revenue from business

       None
              Identify the beginning and ending dates of the debtor’s fiscal year, which         Sources of revenue                        Gross revenue
              may be a calendar year                                                             Check all that apply                      (before deductions and
                                                                                                                                           exclusions)

             From the beginning of the                                                            Operating a business
             fiscal year to filing date:          01/01/2023
                                             From ___________         to     Filing date                                                     4,020,620.00
                                                                                                                                            $________________
                                                    MM / DD / YYYY
                                                                                                  Other _______________________

             For prior year:                      01/01/2022
                                             From ___________         to     12/31/2022
                                                                             ___________          Operating a business                      27,632,882.00
                                                                                                                                            $________________
                                                    MM / DD / YYYY            MM / DD / YYYY
                                                                                                  Other _______________________
             For the year before that:            01/01/2021
                                             From ___________         to     12/31/2021
                                                                             ___________          Operating a business
                                                    MM / DD / YYYY            MM / DD / YYYY
                                                                                                                                             12,116,611.84
                                                                                                                                            $________________
                                                                                                  Other _______________________


   2. Non-business revenue
      Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
      from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

       None

                                                                                                 Description of sources of revenue         Gross revenue from each
                                                                                                                                           source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

             From the beginning of the                                                          N/A
             fiscal year to filing date:      01/01/2023
                                         From ___________             to      Filing date
                                                                                                ___________________________                 0.00
                                                                                                                                           $________________
                                                    MM / DD / YYYY



             For prior year:                      01/01/2022
                                             From ___________         to      12/31/2022
                                                                              ___________
                                                    MM / DD / YYYY             MM / DD / YYYY   Licensing income from agreement with CMS
                                                                                                ___________________________                 209,012.26
                                                                                                                                           $________________




             For the year before that:            01/01/2021
                                             From ___________         to      12/31/2021
                                                                              ___________
                                                    MM / DD / YYYY             MM / DD / YYYY   N/A
                                                                                                ___________________________                 0.00
                                                                                                                                           $________________




 Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 1
                                  Case 23-11788-BLS                  Doc 1        Filed 10/30/23            Page 59 of 99

Debtor            Gelesis, Inc.
                  _______________________________________________________                          Case number (if known)_____________________________________
                  Name




   Part 2:         List Certain Transfers Made Before Filing for Bankruptcy

   3. Certain payments or transfers to creditors within 90 days before filing this case
         List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
         days before filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be
         adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None          See attached schedule.
                Creditor’s name and address                         Dates          Total amount or value         Reasons for payment or transfer
                                                                                                                 Check all that apply
         3.1.

                __________________________________________         ________        $_________________                 Secured debt
                Creditor’s name
                                                                                                                      Unsecured loan repayments
                __________________________________________
                Street                                             ________                                           Suppliers or vendors
                __________________________________________                                                            Services
                __________________________________________
                City                          State    ZIP Code
                                                                   ________                                           Other _______________________________


         3.2.

                __________________________________________         ________        $_________________                 Secured debt
                Creditor’s name
                                                                                                                      Unsecured loan repayments
                __________________________________________
                Street                                             ________                                           Suppliers or vendors
                __________________________________________                                                            Services
                __________________________________________
                City                          State    ZIP Code
                                                                   ________                                           Other _______________________________


   4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
         List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
         guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
         $7,575. (This amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
         Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives;
         general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
         the debtor. 11 U.S.C. § 101(31).

          None             See attached schedule.
                Insider’s name and address                          Dates          Total amount or value        Reasons for payment or transfer
         4.1.

                __________________________________________        _________       $__________________          ___________________________________________
                Insider’s name
                __________________________________________        _________                                    ___________________________________________
                Street
                __________________________________________        _________                                    ___________________________________________
                __________________________________________
                City                          State    ZIP Code


                Relationship to debtor
                __________________________________________


         4.2.

                __________________________________________        _________       $__________________          ___________________________________________
                Insider’s name
                __________________________________________        _________                                    ___________________________________________
                Street
                __________________________________________        _________                                    ___________________________________________
                __________________________________________
                City                          State    ZIP Code



                Relationship to debtor

                __________________________________________



Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             page 2
                                   Case 23-11788-BLS                   Doc 1        Filed 10/30/23                 Page 60 of 99

Debtor             Gelesis, Inc.
                   _______________________________________________________                                Case number (if known)_____________________________________
                   Name




   5. Repossessions, foreclosures, and returns
         List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
         sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None
                Creditor’s name and address                          Description of the property                                   Date               Value of property
         5.1.

                __________________________________________           ___________________________________________                   ______________     $___________
                Creditor’s name
                __________________________________________           ___________________________________________
                Street
                __________________________________________           ___________________________________________
                __________________________________________
                City                          State     ZIP Code

         5.2.

                __________________________________________           ___________________________________________                   _______________      $___________
                Creditor’s name
                __________________________________________           ___________________________________________
                Street
                __________________________________________           ___________________________________________
                __________________________________________
                City                          State     ZIP Code


   6. Setoffs

         List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
         the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
          None
                 Creditor’s name and address                            Description of the action creditor took                    Date action was       Amount
                                                                                                                                   taken

                 __________________________________________           ___________________________________________                _______________      $___________
                 Creditor’s name
                 __________________________________________           ___________________________________________
                 Street
                 __________________________________________
                 __________________________________________           Last 4 digits of account number: XXXX– __ __ __ __
                 City                          State     ZIP Code


    Part 3:            Legal Actions or Assignments

   7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
         List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
         was involved in any capacity—within 1 year before filing this case.

          None
                 Case title                                 Nature of case                          Court or agency’s name and address                 Status of case

         7.1.
                 _________________________________          ______________________________         __________________________________________           Pending
                                                                                                   Name
                                                                                                                                                        On appeal
                                                                                                   __________________________________________
                 Case number                                                                       Street                                               Concluded
                                                                                                   __________________________________________
                 _________________________________                                                 __________________________________________
                                                                                                   City                  State             ZIP Code


                 Case title                                                                          Court or agency’s name and address
                                                                                                                                                        Pending
         7.2.
                 _________________________________          ______________________________         __________________________________________           On appeal
                                                                                                   Name
                                                                                                   __________________________________________
                                                                                                                                                        Concluded
                 Case number
                                                                                                   Street
                                                                                                   __________________________________________
                 _________________________________
                                                                                                   __________________________________________
                                                                                                   City                          State     ZIP Code


Official Form 207                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 3
                                     Case 23-11788-BLS                     Doc 1         Filed 10/30/23               Page 61 of 99

Debtor             Gelesis, Inc.
                   _______________________________________________________                                 Case number (if known)_____________________________________
                       Name




   8. Assignments and receivership

         List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
         hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
          None
                  Custodian’s name and address                            Description of the property                        Value

                 __________________________________________               ______________________________________             $_____________
                 Custodian’s name
                                                                          Case title                                         Court name and address
                 __________________________________________
                 Street
                                                                          ______________________________________           __________________________________________
                 __________________________________________                                                                Name
                 __________________________________________               Case number                                      __________________________________________
                 City                            State      ZIP Code                                                       Street
                                                                          ______________________________________           __________________________________________
                                                                          Date of order or assignment                      __________________________________________
                                                                                                                           City                 State               ZIP Code

                                                                          ______________________________________

   Part 4:             Certain Gifts and Charitable Contributions

   9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
         of the gifts to that recipient is less than $1,000
          None
                 Recipient’s name and address                             Description of the gifts or contributions                   Dates given           Value

                Pennington Biomedical Research Center
                __________________________________________                Pennington Biomedical Research
                                                                          ___________________________________________                 04/08/2022
                                                                                                                                      _________________    3,000.00
                                                                                                                                                          $__________
         9.1.
                Recipient’s name
                 6400 Perkins Road
                                                                          Center Educational Grant
                __________________________________________                ___________________________________________
                Street
                 Attn: Frank L. Greenway
                __________________________________________
                 Baton Rouge              LA     70808
                __________________________________________
                City                           State       ZIP Code


                  Recipient’s relationship to debtor
                  A principal investigator for debtor's clinical trials
                  __________________________________________


                Fred Hutchinson Cancer Research Center
                __________________________________________                Climb to Fight Cancer
                                                                          ___________________________________________                 01/02/2022
                                                                                                                                      _________________    5,000.00
                                                                                                                                                          $__________
         9.2. Recipient’s name

                 1100 Fairview Ave. N.
                __________________________________________
                                                                          donation
                                                                          ___________________________________________
                Street
                 Mall Stop J5-200
                __________________________________________
                 Seattle                  WA 98109
                __________________________________________
                City                           State       ZIP Code

                  Recipient’s relationship to debtor
                  None
                  __________________________________________


   Part 5:             Certain Losses

   10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None
                 Description of the property lost and how the loss        Amount of payments received for the loss                    Date of loss        Value of property
                 occurred                                                 If you have received payments to cover the loss, for                            lost
                                                                          example, from insurance, government compensation, or
                                                                          tort liability, list the total received.
                                                                          List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                          Assets – Real and Personal Property).


                 ___________________________________________              ___________________________________________                 _________________   $__________
                 ___________________________________________


Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 4
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Debtor          Gelesis, Inc.
                _______________________________________________________                          Case number (if known)_____________________________________
                Name




   Part 6:       Certain Payments or Transfers

   11. Payments related to bankruptcy
         List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
         the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
         seeking bankruptcy relief, or filing a bankruptcy case.

          None
              Who was paid or who received the transfer?          If not money, describe any property transferred          Dates               Total amount or
                                                                                                                                               value

              Troutman Pepper Hamilton Sanders LLP
              __________________________________________
     11.1.                                                        ___________________________________________              4/21/2023
                                                                                                                           ______________        100,000.00
                                                                                                                                                $_________
              Address
                                                                  ___________________________________________
              1313 N. Market Street
              __________________________________________
              Street
              Suite 5100
              __________________________________________
              Wilmington                DE     19801
              __________________________________________
              City                        State      ZIP Code


              Email or website address
              www.troutman.com
              _________________________________

              Who made the payment, if not debtor?

              Gelesis Holdings, Inc.
              __________________________________________


              Who was paid or who received the transfer?          If not money, describe any property transferred          Dates               Total amount or
                                                                                                                                               value

              Troutman Pepper Hamilton Sanders LLP
     11.2.    __________________________________________          ___________________________________________              10/13/2023
                                                                                                                           ______________        67,072.00
                                                                                                                                                $_________
              Address                                             ___________________________________________
              1313 N. Market Street
              __________________________________________
              Street
              Suite 5100
              __________________________________________
              Wilmington                DE      19801
              __________________________________________
              City                        State      ZIP Code

              Email or website address
              www.troutman.com
              __________________________________________


              Who made the payment, if not debtor?
              Gelesis Holdings, Inc.
              __________________________________________


   12. Self-settled trusts of which the debtor is a beneficiary

         List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
         a self-settled trust or similar device.
         Do not include transfers already listed on this statement.

          None
              Name of trust or device                             Describe any property transferred                         Dates transfers     Total amount or
                                                                                                                            were made           value


              __________________________________________          ___________________________________________               ______________       $_________

              Trustee                                             ___________________________________________
              __________________________________________




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Debtor          Gelesis, Inc.
                _______________________________________________________                             Case number (if known)_____________________________________
                Name




   13. Transfers not already listed on this statement

         List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor
         within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
         Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


          None

              Who received transfer?                                 Description of property transferred or payments received   Date transfer      Total amount or
                                                                     or debts paid in exchange                                  was made           value



     13.1.    __________________________________________             ___________________________________________                ________________    $_________

                                                                     ___________________________________________
              Address
              __________________________________________
              Street
              __________________________________________
              __________________________________________
              City                         State      ZIP Code


              Relationship to debtor

              __________________________________________




              Who received transfer?
                                                                     ___________________________________________                ________________    $_________

     13.2.    __________________________________________             ___________________________________________

              Address
              __________________________________________
              Street
              __________________________________________
              __________________________________________
              City                         State      ZIP Code


              Relationship to debtor

              __________________________________________



   Part 7:       Previous Locations

   14. Previous addresses
         List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

          Does not apply
              Address                                                                                                Dates of occupancy


     14.1.     501 Boylston Street
               _______________________________________________________________________                               From       06/01/2019
                                                                                                                                ____________       To   Present
                                                                                                                                                        ____________
              Street
              Suite 6102
              _______________________________________________________________________
              Boston                                     MA           02116
              _______________________________________________________________________
              City                                               State         ZIP Code


     14.2.     500 Boylston Street
               _______________________________________________________________________                               From       06/01/2009
                                                                                                                                ____________       To   06/01/2019
                                                                                                                                                        ____________
              Street
              Suite 1600
              _______________________________________________________________________
              Boston                                     MA           02116
              _______________________________________________________________________
              City                                               State         ZIP Code


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Debtor           Gelesis, Inc.
                 _______________________________________________________                              Case number (if known)_____________________________________
                 Name




   Part 8:            Health Care Bankruptcies

   15. Health Care bankruptcies
         Is the debtor primarily engaged in offering services and facilities for:
          diagnosing or treating injury, deformity, or disease, or
          providing any surgical, psychiatric, drug treatment, or obstetric care?

          No. Go to Part 9.
          Yes. Fill in the information below.
               Facility name and address                          Nature of the business operation, including type of services the            If debtor provides meals
                                                                  debtor provides                                                             and housing, number of
                                                                                                                                              patients in debtor’s care

     15.1.     ________________________________________           ___________________________________________________________                 ____________________
               Facility name
                                                                  ____________________________________________________________
               ________________________________________
               Street                                             Location where patient records are maintained (if different from facility   How are records kept?
                                                                  address). If electronic, identify any service provider.
               ________________________________________
                                                                                                                                              Check all that apply:
                                                                  ____________________________________________________________
               ________________________________________
               City                   State        ZIP Code       ____________________________________________________________
                                                                                                                                               Electronically
                                                                                                                                               Paper
               Facility name and address                          Nature of the business operation, including type of services the            If debtor provides meals
                                                                  debtor provides                                                             and housing, number of
                                                                                                                                              patients in debtor’s care

     15.2.     ________________________________________           ___________________________________________________________                 ____________________
               Facility name
                                                                  ___________________________________________________________
               ________________________________________
               Street                                             Location where patient records are maintained (if different from facility   How are records kept?
                                                                  address). If electronic, identify any service provider.
               ________________________________________
                                                                                                                                              Check all that apply:
                                                                  ____________________________________________________________
               ________________________________________
               City                   State        ZIP Code       ____________________________________________________________
                                                                                                                                               Electronically
                                                                                                                                               Paper

   Part 9:            Personally Identifiable Information

   16. Does the debtor collect and retain personally identifiable information of customers?

          No.
          Yes. State the nature of the information collected and retained. ___________________________________________________________________
                      Does the debtor have a privacy policy about that information?
                       No
                       Yes
   17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
         pension or profit-sharing plan made available by the debtor as an employee benefit?

          No. Go to Part 10.
             Yes. Does the debtor serve as plan administrator?
                       No. Go to Part 10.
                       Yes. Fill in below:
                           Name of plan                                                                             Employer identification number of the plan
                           Gelesis 401(k) Plan
                           _______________________________________________________________________                        2 ___
                                                                                                                    EIN: ___ 0 – ___
                                                                                                                                   4 ___
                                                                                                                                      9 ___
                                                                                                                                         0 ___
                                                                                                                                            9 ___
                                                                                                                                               9 3    3
                                                                                                                                                  ___ ___

                         Has the plan been terminated?
                          No
                          Yes


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Debtor           Gelesis, Inc.
                 _______________________________________________________                             Case number (if known)_____________________________________
                 Name




   Part 10:           Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

   18. Closed financial accounts
         Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
         moved, or transferred?
         Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
         brokerage houses, cooperatives, associations, and other financial institutions.

          None          Note: Inactive subsidiary Gelesis 2012, Inc. had the below account closed out by Silicon Valley Bridge Bank.
               Financial institution name and address           Last 4 digits of account        Type of account             Date account was        Last balance
                                                                number                                                      closed, sold, moved,    before closing or
                                                                                                                            or transferred          transfer

     18.1.     Silicon Valley Bridge Bank
               ______________________________________                  5 ___
                                                                XXXX–___  2 ___
                                                                             7 ___
                                                                                5                Checking                  2/17/2023
                                                                                                                            ___________________       0.00
                                                                                                                                                     $__________
               Name
               3003 Tasman Drive                                                                 Savings
               ______________________________________
               Street                                                                            Money market
               ______________________________________
               Santa Clara        CA     95054
                                                                                                 Brokerage
               ______________________________________
               City                  State        ZIP Code                                       Other______________

     18.2.     ______________________________________           XXXX–___ ___ ___ ___             Checking                  ___________________      $__________
               Name
                                                                                                 Savings
               ______________________________________
               Street                                                                            Money market
               ______________________________________
                                                                                                 Brokerage
               ______________________________________
               City                  State        ZIP Code                                       Other______________

   19. Safe deposit boxes
         List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

          None
                 Depository institution name and address        Names of anyone with access to it            Description of the contents                  Does debtor
                                                                                                                                                          still have it?

               ______________________________________          __________________________________          __________________________________              No
               Name
                                                               __________________________________          __________________________________
                                                                                                                                                           Yes
               ______________________________________
               Street                                          __________________________________          __________________________________
               ______________________________________
               ______________________________________           Address
               City                  State        ZIP Code
                                                               ____________________________________

                                                               ____________________________________

  20. Off-premises storage
         List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
         which the debtor does business.

       None              See attached schedule.
                 Facility name and address                      Names of anyone with access to it          Description of the contents                    Does debtor
                                                                                                                                                          still have it?
                                                                                                                                                            No
               ______________________________________          __________________________________          __________________________________
               Name
                                                                                                                                                            Yes
                                                               __________________________________          __________________________________
               ______________________________________
               Street                                          __________________________________          __________________________________
               ______________________________________
               ______________________________________            Address
               City                  State        ZIP Code
                                                                ________________________________

                                                                _________________________________



Official Form 207                              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 8
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Debtor          Gelesis, Inc.
                _______________________________________________________                               Case number (if known)_____________________________________
                Name




   Part 11:          Property the Debtor Holds or Controls That the Debtor Does Not Own

   21. Property held for another
         List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
         trust. Do not list leased or rented property.

          None
              Owner’s name and address                              Location of the property                Description of the property                 Value

                                                                                                                                                        $_______
              ______________________________________                __________________________________      __________________________________
              Name
                                                                    __________________________________      __________________________________
              ______________________________________
              Street                                                __________________________________      __________________________________
              ______________________________________
              ______________________________________
              City                 State          ZIP Code




   Part 12:          Details About Environmental Information

   For the purpose of Part 12, the following definitions apply:
    Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
         regardless of the medium affected (air, land, water, or any other medium).
    Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
         formerly owned, operated, or utilized.
    Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
         or a similarly harmful substance.

   Report all notices, releases, and proceedings known, regardless of when they occurred.


   22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


          No
          Yes. Provide details below.
              Case title                                     Court or agency name and address              Nature of the case                       Status of case

              _________________________________                                                                                                      Pending
                                                             _____________________________________         __________________________________
              Case number                                    Name
                                                                                                           __________________________________
                                                                                                                                                     On appeal
                                                             _____________________________________                                                   Concluded
              _________________________________              Street                                        __________________________________
                                                             _____________________________________
                                                             _____________________________________
                                                             City                    State     ZIP Code




   23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
         environmental law?

          No
          Yes. Provide details below.
             Site name and address                           Governmental unit name and address            Environmental law, if known             Date of notice


              __________________________________             _____________________________________         __________________________________       __________
              Name                                           Name
                                                                                                           __________________________________
              __________________________________             _____________________________________
              Street                                         Street                                        __________________________________
              __________________________________             _____________________________________
              __________________________________             _____________________________________
              City                 State     ZIP Code        City                   State      ZIP Code




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Debtor          Gelesis, Inc.
                _______________________________________________________                          Case number (if known)_____________________________________
                Name




   24. Has the debtor notified any governmental unit of any release of hazardous material?
          No
          Yes. Provide details below.
             Site name and address                       Governmental unit name and address           Environmental law, if known                Date of notice


              __________________________________        ______________________________________        __________________________________           __________
              Name                                      Name
                                                                                                      __________________________________
              __________________________________        ______________________________________
              Street                                    Street                                        __________________________________
              __________________________________        ______________________________________
              __________________________________        ______________________________________
              City                 State     ZIP Code   City                 State        ZIP Code




   Part 13:            Details About the Debtor’s Business or Connections to Any Business


   25. Other businesses in which the debtor has or has had an interest
         List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
         Include this information even if already listed in the Schedules.

          None See attached schedule.

              Business name and address                  Describe the nature of the business                   Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
     25.1.    __________________________________         _____________________________________________
              Name                                                                                             Dates business existed
                                                         _____________________________________________
              __________________________________
              Street                                     _____________________________________________
              __________________________________                                                               From _______         To _______
              __________________________________
              City                 State     ZIP Code




              Business name and address                  Describe the nature of the business                   Employer Identification number
     25.2.
                                                                                                               Do not include Social Security number or ITIN.

              __________________________________         _____________________________________________         EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
              Name
                                                                                                               Dates business existed
                                                         _____________________________________________
              __________________________________
              Street                                     _____________________________________________
              __________________________________                                                               From _______         To _______
              __________________________________
              City                 State     ZIP Code



              Business name and address                  Describe the nature of the business                   Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

     25.3.    __________________________________         _____________________________________________         EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
              Name
                                                         _____________________________________________         Dates business existed
              __________________________________
              Street                                     _____________________________________________
              __________________________________
              __________________________________
                                                                                                               From _______         To _______
              City                 State     ZIP Code




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Debtor              Gelesis, Inc.
                    _______________________________________________________                          Case number (if known)_____________________________________
                    Name




   26. Books, records, and financial statements
         26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

                 None           See attached schedule.
                 Name and address                                                                                  Dates of service

                                                                                                                   From _______       To _______
     26a.1.      __________________________________________________________________________________
                 Name
                 __________________________________________________________________________________
                 Street
                 __________________________________________________________________________________
                 __________________________________________________________________________________
                 City                                               State                 ZIP Code


                 Name and address                                                                                  Dates of service

                                                                                                                   From _______       To _______
     26a.2.      __________________________________________________________________________________
                 Name
                 __________________________________________________________________________________
                 Street
                 __________________________________________________________________________________
                 __________________________________________________________________________________
                 City                                               State                 ZIP Code



         26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
                statement within 2 years before filing this case.
                 None
                        Name and address                                                                           Dates of service

                                                                                                                        2013
                                                                                                                   From _______          Present
                                                                                                                                      To _______
           26b.1.       KPMG, LLP
                        ______________________________________________________________________________
                        Name
                        Two Financial Center
                        ______________________________________________________________________________
                        Street
                        60 South Street
                        ______________________________________________________________________________
                        Boston                                        MA                  02111
                        ______________________________________________________________________________
                        City                                            State                 ZIP Code


                        Name and address                                                                           Dates of service

                                                                                                                   From _______       To _______
           26b.2.       ______________________________________________________________________________
                        Name
                        ______________________________________________________________________________
                        Street
                        ______________________________________________________________________________
                        ______________________________________________________________________________
                        City                                            State                 ZIP Code



         26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
                 None
                                                                                                                   If any books of account and records are
                        Name and address
                                                                                                                   unavailable, explain why


           26c.1.       Wenlie Zhou
                        ______________________________________________________________________________             _________________________________________
                        Name
                        501 Boylston Street
                        ______________________________________________________________________________
                                                                                                                   _________________________________________
                        Street                                                                                     _________________________________________
                        Suite 6102
                        ______________________________________________________________________________
                        Boston                                        MA                  02116
                        ______________________________________________________________________________
                        City                                            State                 ZIP Code



Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 11
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Debtor                Gelesis, Inc.
                      _______________________________________________________                       Case number (if known)_____________________________________
                      Name




                                                                                                                   If any books of account and records are
                          Name and address
                                                                                                                   unavailable, explain why


             26c.2.       Susan Fiedler
                          ______________________________________________________________________________           _________________________________________
                          Name
                          501 Boylston Street
                          ______________________________________________________________________________
                                                                                                                   _________________________________________
                          Street                                                                                   _________________________________________
                          Suite 6102
                          ______________________________________________________________________________
                          Boston                                        MA                  02116
                          ______________________________________________________________________________
                          City                                           State                   ZIP Code



         26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
              within 2 years before filing this case.

                 None
                          Name and address


             26d.1.       ______________________________________________________________________________
                          Name
                          ______________________________________________________________________________
                          Street
                          ______________________________________________________________________________
                          ______________________________________________________________________________
                          City                                           State                   ZIP Code


                          Name and address


             26d.2.       ______________________________________________________________________________
                          Name
                          ______________________________________________________________________________
                          Street
                          ______________________________________________________________________________
                          ______________________________________________________________________________
                          City                                           State                   ZIP Code




   27. Inventories

         Have any inventories of the debtor’s property been taken within 2 years before filing this case?
          No
          Yes. Give the details about the two most recent inventories.


                 Name of the person who supervised the taking of the inventory                        Date of       The dollar amount and basis (cost, market, or
                                                                                                      inventory     other basis) of each inventory

                Cardinal Health 105, Inc.
                ______________________________________________________________________                10/30/2023
                                                                                                     _______         5,228,202.76*
                                                                                                                   $___________________
                                                                                                                    * Inventory value based on gross physical
                 Name and address of the person who has possession of inventory records                             count. Of this amount, $4,939,223.37 is
                                                                                                                    unlikely to have market value due to
                 Cardinal Health 105, Inc.                                                                          maximum shelf life of the product. Thus, the
     27.1.       ______________________________________________________________________
                 Name                                                                                               likely value of the inventory is $288,979.39.
                 PO Box 978709
                 ______________________________________________________________________
                 Street
                 ______________________________________________________________________
                 Dallas                                             TX     75397
                 ______________________________________________________________________
                 City                                                    State        ZIP Code




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Debtor          Gelesis, Inc.
                _______________________________________________________                          Case number (if known)_____________________________________
                Name




              Name of the person who supervised the taking of the inventory                       Date of           The dollar amount and basis (cost, market, or
                                                                                                  inventory         other basis) of each inventory

              ______________________________________________________________________              _______       $___________________

              Name and address of the person who has possession of inventory records


     27.2.    ______________________________________________________________________
              Name
              ______________________________________________________________________
              Street
              ______________________________________________________________________
              ______________________________________________________________________
              City                                                     State          ZIP Code


   28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
         people in control of the debtor at the time of the filing of this case. See attached schedule.

              Name                                 Address                                                Position and nature of any            % of interest, if any
                                                                                                          interest
              ____________________________         _____________________________________________          ____________________________           _______________

              ____________________________         _____________________________________________          ____________________________           _______________

              ____________________________         _____________________________________________          ____________________________           _______________

              ____________________________         _____________________________________________          ____________________________           _______________

              ____________________________         _____________________________________________          ____________________________           _______________

   29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control
         of the debtor, or shareholders in control of the debtor who no longer hold these positions?
          No
          Yes. Identify below.
              Name                                 Address                                                Position and nature of          Period during which
                                                                                                          any interest                    position or interest was
                                                                                                                                          held
              Elaine Chiquette
              ____________________________         505 Sun Forest Way, Chapel Hill, NC 27517
                                                   _____________________________________________           Chief Scientific Officer
                                                                                                          ______________________                4/17/17 To _____
                                                                                                                                         From _____          11/30/22

              Elliot Maltz
              ____________________________         11 Ivy Road, Needham, MA 02492
                                                   _____________________________________________           Chief Financial Officer
                                                                                                          ______________________              3/16/2014
                                                                                                                                         From _____        8/16/2023
                                                                                                                                                        To _____

              ____________________________         _____________________________________________          ______________________         From _____ To _____

              ____________________________         _____________________________________________          ______________________         From _____ To _____

   30. Payments, distributions, or withdrawals credited or given to insiders

         Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
         bonuses, loans, credits on loans, stock redemptions, and options exercised?
          No
          Yes. Identify below.        See attached schedule.
              Name and address of recipient                                              Amount of money or                   Dates              Reason for
                                                                                         description and value of                                providing the value
                                                                                         property


     30.1.    ______________________________________________________________              _________________________           _____________       ____________
              Name
              ______________________________________________________________
              Street                                                                                                         _____________
              ______________________________________________________________
              ______________________________________________________________                                                 _____________
              City                                     State           ZIP Code

              Relationship to debtor                                                                                         _____________

              ______________________________________________________________                                                 _____________

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                                                    Gelesis, Inc. - Statement of Financial Affairs - Part 2, Section 3 - Payments or Transfers within 90 Days of Filing

              Creditor Name                                             Creditor Address                                   Dates of Transfers   Total Amount or Value or Transfer      Reasons for Payment or Transfer
Aermar Srl                               Piazza Umberto, 54, 70121 BARI, ITALY                                                      8/17/2023 $                         38,554.00 Suppliers or Vendors
Armfield, Harrison & Thomas, LLC         458 South Avenue, Whitman, MA, 02382                                                     10/30/2023 $                          11,012.00 Insurance
BDO USA LLP                              5300 Patterson Ave SE, Suite 100, GRAND RAPIDS, MI 49512                                   9/18/2023 $                         28,196.00 Suppliers or Vendors
Boston HelpDesk                          803 Summer Street, BOSTON, MA 02127                                                      10/20/2023 $                           1,110.82 Services
Business Wire, Inc.                      PO Box 884182, LOS ANGELES, CA 90088-4182                                                   8/2/2023 $                           2,136.00 Suppliers or Vendors
Cardinal Health 105, Inc.                PO Box 978709, DALLAS, TX 75397                                                            8/17/2023 $                         26,484.38 Suppliers or Vendors
Cardinal Health 105, Inc.                PO Box 978709, DALLAS, TX 75397                                                            9/18/2023 $                         22,767.63 Suppliers or Vendors
Centerpiece Holdings, LLC                440 Stevens Ave, #200, SOLANA BEACH, CA 92075                                              8/17/2023 $                           2,533.33 Suppliers or Vendors
Centerpiece Holdings, LLC                440 Stevens Ave, #200, SOLANA BEACH, CA 92075                                              8/31/2023 $                           9,878.00 Suppliers or Vendors
Clarivate IP (US) Holdings Corporation   CPA Global Limited, 3133 West Frye Road, Suite 400, CHANDLER, AZ 85226                     8/17/2023 $                         21,185.86 Legal - patents
Clarivate IP (US) Holdings Corporation   CPA Global Limited, 3133 West Frye Road, Suite 400, CHANDLER, AZ 85226                     9/18/2023 $                         16,941.01 Legal - patents
Daniel F. Young, Incorporated            1235 Westlakes Drive, Suite 305, BERWYN, PA 19312                                          8/17/2023 $                         10,475.89 Suppliers or Vendors
Daniel F. Young, Incorporated            1235 Westlakes Drive, Suite 305, BERWYN, PA 19312                                          9/18/2023 $                           7,000.00 Suppliers or Vendors
Daniel F. Young, Incorporated            1235 Westlakes Drive, Suite 305, BERWYN, PA 19312                                          9/21/2023 $                           9,106.32 Suppliers or Vendors
Elmore Patent Law Group, PC              Jennifer Rogers, 484 Groton Road, WESTFORD, MA 01886                                       8/17/2023 $                         19,293.24 Legal - patents
Elmore Patent Law Group, PC              Jennifer Rogers, 484 Groton Road, WESTFORD, MA 01886                                       8/31/2023 $                          3,731.31 Legal - patents
Hassan Heshmati, MD                      1764 West Dion Drive, ANTHEM, AZ 85086                                                      8/2/2023 $                          8,453.33 Consulting
Hassan Heshmati, MD                      1764 West Dion Drive, ANTHEM, AZ 85086                                                     8/17/2023 $                          2,400.00 Consulting
Hassan Heshmati, MD                      1764 West Dion Drive, ANTHEM, AZ 85086                                                     9/21/2023 $                          3,553.33 Consulting
Hassan Heshmati, MD                      1764 West Dion Drive, ANTHEM, AZ 85086                                                   10/25/2023 $                           7,033.33 Consulting
Hero Digital LLC                         150 Spear Street, Suite 600, SAN FRANCISCO, CA 94105                                     10/25/2023 $                          10,000.00 Suppliers or Vendors
Hero Digital LLC                         150 Spear Street, Suite 600, SAN FRANCISCO, CA 94105                                     10/27/2023 $                           5,000.00 Suppliers or Vendors
Hero Digital LLC                         150 Spear Street, Suite 600, SAN FRANCISCO, CA 94105                                       8/17/2023 $                         24,882.14 Suppliers or Vendors
Hero Digital LLC                         150 Spear Street, Suite 600, SAN FRANCISCO, CA 94105                                       9/18/2023 $                          5,000.00 Suppliers or Vendors
Hero Digital LLC                         150 Spear Street, Suite 600, SAN FRANCISCO, CA 94105                                       9/22/2023 $                          7,582.25 Suppliers or Vendors
Locke Lord LLP                           24259 Network Place, CHICAGO, IL 60673-1242                                                8/17/2023 $                         11,480.30 Legal - patents
Locke Lord LLP                           24259 Network Place, CHICAGO, IL 60673-1242                                                8/31/2023 $                          6,433.38 Legal - patents
Locke Lord LLP                           24259 Network Place, CHICAGO, IL 60673-1242                                                9/18/2023 $                         12,497.00 Legal - patents
Morgan Stanley Capital Management, LLC   Solium Capital LLC, Dept 3530 PO Box 123530, DALLAS, TEXAS 75312-3530                       8/2/2023 $                          7,628.00 Services
Morgan Stanley Capital Management, LLC   Solium Capital LLC, Dept 3530 PO Box 123530, DALLAS, TEXAS 75312-3530                      8/17/2023 $                          2,376.00 Services
Morgan Stanley Capital Management, LLC   Solium Capital LLC, Dept 3530 PO Box 123530, DALLAS, TEXAS 75312-3530                      9/21/2023 $                          2,376.00 Services
Parexel International (IRL) Limited      One Kilmainham Square, Inchicore Road, Kilmainham DUBLIN 8, IRELAND                      10/25/2023 $                          14,651.00 Suppliers or Vendors
Parexel International (IRL) Limited      One Kilmainham Square, Inchicore Road, Kilmainham DUBLIN 8, IRELAND                        8/17/2023 $                         19,285.00 Suppliers or Vendors
Parexel International (IRL) Limited      One Kilmainham Square, Inchicore Road, Kilmainham DUBLIN 8, IRELAND                        9/21/2023 $                         38,080.58 Suppliers or Vendors
PEGUS Research, Inc                      331 South Rio Grande St. Suite 100, SALT LAKE CITY, UT 84101                             10/20/2023 $                         120,891.00 Suppliers or Vendors
PEGUS Research, Inc                      331 South Rio Grande St. Suite 100, SALT LAKE CITY, UT 84101                               8/17/2023 $                         10,173.00 Suppliers or Vendors
PEGUS Research, Inc                      331 South Rio Grande St. Suite 100, SALT LAKE CITY, UT 84101                               9/21/2023 $                         14,433.00 Suppliers or Vendors
ProPharma Group LLC                      8717 W 110th Street, Suite 300, OVERLAND PARK, KS 66210                                  10/25/2023 $                           5,054.49 Suppliers or Vendors
Stephen Gould Corporation                35 South Jefferson Road, WHIPPANY, NJ 07981                                                8/17/2023 $                         46,889.70 Suppliers or Vendors
Stephen Gould Corporation                35 South Jefferson Road, WHIPPANY, NJ 07981                                                8/24/2023 $                         34,239.00 Suppliers or Vendors
Stephen Gould Corporation                35 South Jefferson Road, WHIPPANY, NJ 07981                                                9/21/2023 $                         21,978.70 Suppliers or Vendors
Stephen Gould Corporation                35 South Jefferson Road, WHIPPANY, NJ 07981                                                9/26/2023 $                         21,978.70 Suppliers or Vendors
Stephen Gould Corporation                35 South Jefferson Road, WHIPPANY, NJ 07981                                                9/26/2023 $                        105,371.10 Suppliers or Vendors
Telerx Marketing Inc.                    PO Box 8500-53888, PHILADELPHIA, PA 19178                                                  8/17/2023 $                         49,665.32 Suppliers or Vendors
Telerx Marketing Inc.                    PO Box 8500-53888, PHILADELPHIA, PA 19178                                                  9/21/2023 $                         49,638.92 Suppliers or Vendors
Two Labs, LLC                            PO Box 933205, CLEVELAND, OH 44193                                                         8/18/2023 $                         42,195.73 Suppliers or Vendors
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                                                                           Gelesis, Inc. - Statement of Financial Affairs - Part 2, Section 4 - Payments or Transfers to Insiders within 1 year of Filing

             Insider Name                     Insider Address                        Relationship to Debtor                    Payment Date         Payment Amount          Payment Currency           Exchange Rate       Payment Amount (USD)                Reason for Payment
                                                                       Officer of Gelesis, Inc. and Officer and Director and
David Pass                  88 Pleasant St S, Natick, MA, 01760-5634   Gelesis Holdings, Inc.                                      10/31/2022 $             10,436.21 USD                                              $                  10,436.21 Compensation
                                                                       Officer of Gelesis, Inc. and Officer and Director and
David Pass                  88 Pleasant St S, Natick, MA, 01760-5634   Gelesis Holdings, Inc.                                       10/31/2022 $             1,622.25 USD                                              $                   1,622.25 401(k) Contribution
                                                                       Officer of Gelesis, Inc. and Officer and Director and
David Pass                  88 Pleasant St S, Natick, MA, 01760-5634   Gelesis Holdings, Inc.                                      11/15/2022 $             10,436.21 USD                                              $                  10,436.21 Compensation
                                                                       Officer of Gelesis, Inc. and Officer and Director and
David Pass                  88 Pleasant St S, Natick, MA, 01760-5634   Gelesis Holdings, Inc.                                       11/15/2022 $             1,622.25 USD                                              $                   1,622.25 401(k) Contribution
                                                                       Officer of Gelesis, Inc. and Officer and Director and
David Pass                  88 Pleasant St S, Natick, MA, 01760-5634   Gelesis Holdings, Inc.                                      11/30/2022 $             10,436.21 USD                                              $                  10,436.21 Compensation
                                                                       Officer of Gelesis, Inc. and Officer and Director and
David Pass                  88 Pleasant St S, Natick, MA, 01760-5634   Gelesis Holdings, Inc.                                       11/30/2022 $             1,622.25 USD                                              $                   1,622.25 401(k) Contribution
                                                                       Officer of Gelesis, Inc. and Officer and Director and
David Pass                  88 Pleasant St S, Natick, MA, 01760-5634   Gelesis Holdings, Inc.                                      12/15/2022 $             10,436.21 USD                                              $                  10,436.21 Compensation
                                                                       Officer of Gelesis, Inc. and Officer and Director and
David Pass                  88 Pleasant St S, Natick, MA, 01760-5634   Gelesis Holdings, Inc.                                       12/15/2022 $             1,622.25 USD                                              $                   1,622.25 401(k) Contribution
                                                                       Officer of Gelesis, Inc. and Officer and Director and
David Pass                  88 Pleasant St S, Natick, MA, 01760-5634   Gelesis Holdings, Inc.                                      12/30/2022 $             10,436.25 USD                                              $                  10,436.25 Compensation
                                                                       Officer of Gelesis, Inc. and Officer and Director and
David Pass                  88 Pleasant St S, Natick, MA, 01760-5634   Gelesis Holdings, Inc.                                       12/30/2022 $             1,622.25 USD                                              $                   1,622.25 401(k) Contribution
                                                                       Officer of Gelesis, Inc. and Officer and Director and
David Pass                  88 Pleasant St S, Natick, MA, 01760-5634   Gelesis Holdings, Inc.                                       1/13/2023 $              9,656.60 USD                                              $                   9,656.60 Compensation
                                                                       Officer of Gelesis, Inc. and Officer and Director and
David Pass                  88 Pleasant St S, Natick, MA, 01760-5634   Gelesis Holdings, Inc.                                        1/13/2023 $             1,622.25 USD                                              $                   1,622.25 401(k) Contribution
                                                                       Officer of Gelesis, Inc. and Officer and Director and
David Pass                  88 Pleasant St S, Natick, MA, 01760-5634   Gelesis Holdings, Inc.                                       1/31/2023 $              9,656.60 USD                                              $                   9,656.60 Compensation
                                                                       Officer of Gelesis, Inc. and Officer and Director and
David Pass                  88 Pleasant St S, Natick, MA, 01760-5634   Gelesis Holdings, Inc.                                        1/31/2023 $             1,622.25 USD                                              $                   1,622.25 401(k) Contribution
                                                                       Officer of Gelesis, Inc. and Officer and Director and
David Pass                  88 Pleasant St S, Natick, MA, 01760-5634   Gelesis Holdings, Inc.                                       1/31/2023 $                250.00 USD                                              $                    250.00 Gift Card
                                                                       Officer of Gelesis, Inc. and Officer and Director and
David Pass                  88 Pleasant St S, Natick, MA, 01760-5634   Gelesis Holdings, Inc.                                       2/15/2023 $              9,656.60 USD                                              $                   9,656.60 Compensation
                                                                       Officer of Gelesis, Inc. and Officer and Director and
David Pass                  88 Pleasant St S, Natick, MA, 01760-5634   Gelesis Holdings, Inc.                                        2/15/2023 $             1,622.25 USD                                              $                   1,622.25 401(k) Contribution
                                                                       Officer of Gelesis, Inc. and Officer and Director and
David Pass                  88 Pleasant St S, Natick, MA, 01760-5634   Gelesis Holdings, Inc.                                       2/28/2023 $              9,656.60 USD                                              $                   9,656.60 Compensation
                                                                       Officer of Gelesis, Inc. and Officer and Director and
David Pass                  88 Pleasant St S, Natick, MA, 01760-5634   Gelesis Holdings, Inc.                                        2/28/2023 $             1,622.25 USD                                              $                   1,622.25 401(k) Contribution
                                                                       Officer of Gelesis, Inc. and Officer and Director and
David Pass                  88 Pleasant St S, Natick, MA, 01760-5634   Gelesis Holdings, Inc.                                       3/15/2023 $              9,656.60 USD                                              $                   9,656.60 Compensation
                                                                       Officer of Gelesis, Inc. and Officer and Director and
David Pass                  88 Pleasant St S, Natick, MA, 01760-5634   Gelesis Holdings, Inc.                                        3/15/2023 $             1,622.25 USD                                              $                   1,622.25 401(k) Contribution
                                                                       Officer of Gelesis, Inc. and Officer and Director and
David Pass                  88 Pleasant St S, Natick, MA, 01760-5634   Gelesis Holdings, Inc.                                       3/31/2023 $              9,656.60 USD                                              $                   9,656.60 Compensation
                                                                       Officer of Gelesis, Inc. and Officer and Director and
David Pass                  88 Pleasant St S, Natick, MA, 01760-5634   Gelesis Holdings, Inc.                                        3/31/2023 $             1,622.25 USD                                              $                   1,622.25 401(k) Contribution
                                                                       Officer of Gelesis, Inc. and Officer and Director and
David Pass                  88 Pleasant St S, Natick, MA, 01760-5634   Gelesis Holdings, Inc.                                       4/14/2023 $              9,656.60 USD                                              $                   9,656.60 Compensation
                                                                       Officer of Gelesis, Inc. and Officer and Director and
David Pass                  88 Pleasant St S, Natick, MA, 01760-5634   Gelesis Holdings, Inc.                                        4/14/2023 $             1,622.25 USD                                              $                   1,622.25 401(k) Contribution
                                                                       Officer of Gelesis, Inc. and Officer and Director and
David Pass                  88 Pleasant St S, Natick, MA, 01760-5634   Gelesis Holdings, Inc.                                       4/28/2023 $              9,656.60 USD                                              $                   9,656.60 Compensation
                                                                       Officer of Gelesis, Inc. and Officer and Director and
David Pass                  88 Pleasant St S, Natick, MA, 01760-5634   Gelesis Holdings, Inc.                                        4/28/2023 $             1,622.25 USD                                              $                   1,622.25 401(k) Contribution
                                                                       Officer of Gelesis, Inc. and Officer and Director and
David Pass                  88 Pleasant St S, Natick, MA, 01760-5634   Gelesis Holdings, Inc.                                        5/1/2023 $              2,834.73 USD                                              $                   2,834.73 Compensation
                                                                       Officer of Gelesis, Inc. and Officer and Director and
David Pass                  88 Pleasant St S, Natick, MA, 01760-5634   Gelesis Holdings, Inc.                                         5/1/2023 $               408.39 USD                                              $                    408.39 401(k) Contribution
                                                                       Officer of Gelesis, Inc. and Officer and Director and
David Pass                  88 Pleasant St S, Natick, MA, 01760-5634   Gelesis Holdings, Inc.                                       5/15/2023 $              8,826.93 USD                                              $                   8,826.93 Compensation
                                                                       Officer of Gelesis, Inc. and Officer and Director and
David Pass                  88 Pleasant St S, Natick, MA, 01760-5634   Gelesis Holdings, Inc.                                        5/15/2023 $             1,474.76 USD                                              $                   1,474.76 401(k) Contribution
                                                                       Officer of Gelesis, Inc. and Officer and Director and
David Pass                  88 Pleasant St S, Natick, MA, 01760-5634   Gelesis Holdings, Inc.                                       5/31/2023 $              9,832.11 USD                                              $                   9,832.11 Compensation
                                                                       Officer of Gelesis, Inc. and Officer and Director and
David Pass                  88 Pleasant St S, Natick, MA, 01760-5634   Gelesis Holdings, Inc.                                        5/31/2023 $             1,622.25 USD                                              $                   1,622.25 401(k) Contribution
                                                                       Officer of Gelesis, Inc. and Officer and Director and
David Pass                  88 Pleasant St S, Natick, MA, 01760-5634   Gelesis Holdings, Inc.                                       6/15/2023 $             10,648.84 USD                                              $                  10,648.84 Compensation
                                                                       Officer of Gelesis, Inc. and Officer and Director and
David Pass                  88 Pleasant St S, Natick, MA, 01760-5634   Gelesis Holdings, Inc.                                        6/15/2023 $             1,622.25 USD                                              $                   1,622.25 401(k) Contribution
                                                                       Officer of Gelesis, Inc. and Officer and Director and
David Pass                  88 Pleasant St S, Natick, MA, 01760-5634   Gelesis Holdings, Inc.                                       6/30/2023 $             10,648.88 USD                                              $                  10,648.88 Compensation
                                                                       Officer of Gelesis, Inc. and Officer and Director and
David Pass                  88 Pleasant St S, Natick, MA, 01760-5634   Gelesis Holdings, Inc.                                        6/30/2023 $             1,622.25 USD                                              $                   1,622.25 401(k) Contribution
                                                                       Officer of Gelesis, Inc. and Officer and Director and
David Pass                  88 Pleasant St S, Natick, MA, 01760-5634   Gelesis Holdings, Inc.                                       7/14/2023 $             10,549.46 USD                                              $                  10,549.46 Compensation
                                                                       Officer of Gelesis, Inc. and Officer and Director and
David Pass                  88 Pleasant St S, Natick, MA, 01760-5634   Gelesis Holdings, Inc.                                        7/14/2023 $             1,622.25 USD                                              $                   1,622.25 401(k) Contribution
                                                                       Officer of Gelesis, Inc. and Officer and Director and
David Pass                  88 Pleasant St S, Natick, MA, 01760-5634   Gelesis Holdings, Inc.                                       7/31/2023 $             10,504.80 USD                                              $                  10,504.80 Compensation
                                                                       Officer of Gelesis, Inc. and Officer and Director and
David Pass                  88 Pleasant St S, Natick, MA, 01760-5634   Gelesis Holdings, Inc.                                        7/31/2023 $             1,622.25 USD                                              $                   1,622.25 401(k) Contribution
                                                                       Officer of Gelesis, Inc. and Officer and Director and
David Pass                  88 Pleasant St S, Natick, MA, 01760-5634   Gelesis Holdings, Inc.                                       8/15/2023 $             10,504.80 USD                                              $                  10,504.80 Compensation
                                                                       Officer of Gelesis, Inc. and Officer and Director and
David Pass                  88 Pleasant St S, Natick, MA, 01760-5634   Gelesis Holdings, Inc.                                        8/15/2023 $             1,622.25 USD                                              $                   1,622.25 401(k) Contribution
                                                                       Officer of Gelesis, Inc. and Officer and Director and
David Pass                  88 Pleasant St S, Natick, MA, 01760-5634   Gelesis Holdings, Inc.                                       8/31/2023 $             10,504.80 USD                                              $                  10,504.80 Compensation
                                                                       Officer of Gelesis, Inc. and Officer and Director and
David Pass                  88 Pleasant St S, Natick, MA, 01760-5634   Gelesis Holdings, Inc.                                        8/31/2023 $             1,622.25 USD                                              $                   1,622.25 401(k) Contribution
                                                                       Officer of Gelesis, Inc. and Officer and Director and
David Pass                  88 Pleasant St S, Natick, MA, 01760-5634   Gelesis Holdings, Inc.                                       9/15/2023 $             10,504.80 USD                                              $                  10,504.80 Compensation
                                                                       Officer of Gelesis, Inc. and Officer and Director and
David Pass                  88 Pleasant St S, Natick, MA, 01760-5634   Gelesis Holdings, Inc.                                        9/15/2023 $             1,622.25 USD                                              $                   1,622.25 401(k) Contribution
                                                                       Officer of Gelesis, Inc. and Officer and Director and
David Pass                  88 Pleasant St S, Natick, MA, 01760-5634   Gelesis Holdings, Inc.                                       9/29/2023 $             10,504.80 USD                                              $                  10,504.80 Compensation
                                                                       Officer of Gelesis, Inc. and Officer and Director and
David Pass                  88 Pleasant St S, Natick, MA, 01760-5634   Gelesis Holdings, Inc.                                        9/29/2023 $             1,622.25 USD                                              $                   1,622.25 401(k) Contribution
                                                                       Officer of Gelesis, Inc. and Officer and Director and
David Pass                  88 Pleasant St S, Natick, MA, 01760-5634   Gelesis Holdings, Inc.                                      10/13/2023 $             11,274.20 USD                                              $                  11,274.20 Compensation
                                                                       Officer of Gelesis, Inc. and Officer and Director and
David Pass                  88 Pleasant St S, Natick, MA, 01760-5634   Gelesis Holdings, Inc.                                       10/13/2023 $               538.60 USD                                              $                    538.60 401(k) Contribution
                                                                       Officer of Gelesis, Inc. and Officer and Director and
David Pass                  88 Pleasant St S, Natick, MA, 01760-5634   Gelesis Holdings, Inc.                                      10/17/2023 $              9,233.97 USD                                              $                   9,233.97 Compensation
                                                                       Officer of Gelesis, Inc. and Officer and Director and
David Pass                  88 Pleasant St S, Natick, MA, 01760-5634   Gelesis Holdings, Inc.                                      10/30/2023 $                392.38 USD                                              $                    392.38 401(k) Contribution
                                                                       Officer of Gelesis, Inc. and Officer and Director and
David Pass                  88 Pleasant St S, Natick, MA, 01760-5634   Gelesis Holdings, Inc.                                      10/30/2023 $              8,216.02 USD                                              $                   8,216.02 Compensation
Elaine Chiquette            Bennington 38, RENO, NV 89511              Former Officer                                               10/31/2022 $             9,284.21 USD                                              $                   9,284.21 Compensation
Elaine Chiquette            Bennington 38, RENO, NV 89511              Former Officer                                               10/31/2022 $               487.35 USD                                              $                     487.35 401(k) Contribution




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                                                                                           Gelesis, Inc. - Statement of Financial Affairs - Part 2, Section 4 - Payments or Transfers to Insiders within 1 year of Filing

            Insider Name                             Insider Address                                Relationship to Debtor                 Payment Date     Payment Amount         Payment Currency                    Exchange Rate       Payment Amount (USD)                 Reason for Payment
Elaine Chiquette                   Bennington 38, RENO, NV 89511                       Former Officer                                          11/15/2022 $           9,284.21 USD                                                     $                   9,284.21 Compensation
Elaine Chiquette                   Bennington 38, RENO, NV 89511                       Former Officer                                          11/15/2022 $             487.35 USD                                                     $                     487.35 401(k) Contribution
Elaine Chiquette                   Bennington 38, RENO, NV 89511                       Former Officer                                          11/30/2022 $           9,284.21 USD                                                     $                   9,284.21 Compensation
Elaine Chiquette                   Bennington 38, RENO, NV 89511                       Former Officer                                          11/30/2022 $             487.35 USD                                                     $                     487.35 401(k) Contribution
Elaine Chiquette                   Bennington 38, RENO, NV 89511                       Former Officer                                          12/15/2022 $           3,381.14 USD                                                     $                   3,381.14 Compensation
Elaine Chiquette                   Bennington 38, RENO, NV 89511                       Former Officer                                          12/15/2022 $             153.68 USD                                                     $                     153.68 401(k) Contribution
Elaine Chiquette                   Bennington 38, RENO, NV 89511                       Former Officer                                           1/31/2023 $             250.00 USD                                                     $                     250.00 Gift Card

Elaine Chiquette, 4 Med Consulting Bennington 38, RENO, NV 89511                       Former Officer                                            12/16/2022 $               16,000.00 USD                                              $                  16,000.00 Services (Consulting)

Elaine Chiquette, 4 Med Consulting Bennington 38, RENO, NV 89511                       Former Officer                                              1/6/2023 $               16,000.00 USD                                              $                  16,000.00 Services (Consulting)

Elaine Chiquette, 4 Med Consulting Bennington 38, RENO, NV 89511                       Former Officer                                              2/2/2023 $               47,492.34 USD                                              $                  47,492.34 Services (Consulting)

Elaine Chiquette, 4 Med Consulting Bennington 38, RENO, NV 89511                       Former Officer                                             2/21/2023 $               59,376.43 USD                                              $                  59,376.43 Services (Consulting)

Elaine Chiquette, 4 Med Consulting Bennington 38, RENO, NV 89511                       Former Officer                                              5/2/2023 $               10,100.00 USD                                              $                  10,100.00 Services (Consulting)

Elaine Chiquette, 4 Med Consulting Bennington 38, RENO, NV 89511                       Former Officer                                             6/28/2023 $                1,200.00 USD                                              $                   1,200.00 Services (Consulting)

Elaine Chiquette, 4 Med Consulting Bennington 38, RENO, NV 89511                       Former Officer                                             7/14/2023 $               10,400.00 USD                                              $                  10,400.00 Services (Consulting)

Elaine Chiquette, 4 Med Consulting Bennington 38, RENO, NV 89511                       Former Officer                                             7/18/2023 $                7,400.00 USD                                              $                   7,400.00 Services (Consulting)

Elaine Chiquette, 4 Med Consulting Bennington 38, RENO, NV 89511                       Former Officer                                              8/2/2023 $                6,200.00 USD                                              $                   6,200.00 Services (Consulting)

Elaine Chiquette, 4 Med Consulting Bennington 38, RENO, NV 89511                       Former Officer                                             8/17/2023 $               10,400.00 USD                                              $                  10,400.00 Services (Consulting)

Elaine Chiquette, 4 Med Consulting Bennington 38, RENO, NV 89511                       Former Officer                                             9/18/2023 $               10,400.00 USD                                              $                  10,400.00 Services (Consulting)

Elaine Chiquette, 4 Med Consulting Bennington 38, RENO, NV 89511                       Former Officer                                           10/25/2023 $               20,540.00 USD                                               $                  20,540.00 Services (Consulting)
Elliot Maltz                       11 Ivy Road, Needham, MA, 02492-3731                Former Officer                                            10/31/2022 $               9,787.71 USD                                               $                   9,787.71 Compensation
Elliot Maltz                       11 Ivy Road, Needham, MA, 02492-3731                Former Officer                                            10/31/2022 $                 487.35 USD                                               $                     487.35 401(k) Contribution
Elliot Maltz                       11 Ivy Road, Needham, MA, 02492-3731                Former Officer                                            11/15/2022 $               9,787.71 USD                                               $                   9,787.71 Compensation
Elliot Maltz                       11 Ivy Road, Needham, MA, 02492-3731                Former Officer                                            11/15/2022 $                 487.35 USD                                               $                     487.35 401(k) Contribution
Elliot Maltz                       11 Ivy Road, Needham, MA, 02492-3731                Former Officer                                            11/30/2022 $               9,787.71 USD                                               $                   9,787.71 Compensation
Elliot Maltz                       11 Ivy Road, Needham, MA, 02492-3731                Former Officer                                            11/30/2022 $                 487.35 USD                                               $                     487.35 401(k) Contribution
Elliot Maltz                       11 Ivy Road, Needham, MA, 02492-3731                Former Officer                                            12/15/2022 $               9,787.67 USD                                               $                   9,787.67 Compensation
Elliot Maltz                       11 Ivy Road, Needham, MA, 02492-3731                Former Officer                                            12/15/2022 $                 487.35 USD                                               $                     487.35 401(k) Contribution
Elliot Maltz                       11 Ivy Road, Needham, MA, 02492-3731                Former Officer                                            12/30/2022 $               9,787.71 USD                                               $                   9,787.71 Compensation
Elliot Maltz                       11 Ivy Road, Needham, MA, 02492-3731                Former Officer                                             1/13/2023 $               7,850.84 USD                                               $                   7,850.84 Compensation
Elliot Maltz                       11 Ivy Road, Needham, MA, 02492-3731                Former Officer                                             1/13/2023 $               2,019.02 USD                                               $                   2,019.02 401(k) Contribution
Elliot Maltz                       11 Ivy Road, Needham, MA, 02492-3731                Former Officer                                             1/31/2023 $               7,850.84 USD                                               $                   7,850.84 Compensation
Elliot Maltz                       11 Ivy Road, Needham, MA, 02492-3731                Former Officer                                             1/31/2023 $               2,019.02 USD                                               $                   2,019.02 401(k) Contribution
Elliot Maltz                       11 Ivy Road, Needham, MA, 02492-3731                Former Officer                                            1/31/2023 $                  250.00 USD                                               $                     250.00 Gift Card
Elliot Maltz                       11 Ivy Road, Needham, MA, 02492-3731                Former Officer                                             2/15/2023 $               7,850.84 USD                                               $                   7,850.84 Compensation
Elliot Maltz                       11 Ivy Road, Needham, MA, 02492-3731                Former Officer                                             2/15/2023 $               2,019.02 USD                                               $                   2,019.02 401(k) Contribution
Elliot Maltz                       11 Ivy Road, Needham, MA, 02492-3731                Former Officer                                             2/28/2023 $               7,850.84 USD                                               $                   7,850.84 Compensation
Elliot Maltz                       11 Ivy Road, Needham, MA, 02492-3731                Former Officer                                             2/28/2023 $               2,019.02 USD                                               $                   2,019.02 401(k) Contribution
Elliot Maltz                       11 Ivy Road, Needham, MA, 02492-3731                Former Officer                                             3/15/2023 $               7,850.84 USD                                               $                   7,850.84 Compensation
Elliot Maltz                       11 Ivy Road, Needham, MA, 02492-3731                Former Officer                                             3/15/2023 $               2,019.02 USD                                               $                   2,019.02 401(k) Contribution
Elliot Maltz                       11 Ivy Road, Needham, MA, 02492-3731                Former Officer                                             3/31/2023 $               7,850.84 USD                                               $                   7,850.84 Compensation
Elliot Maltz                       11 Ivy Road, Needham, MA, 02492-3731                Former Officer                                             3/31/2023 $               2,019.02 USD                                               $                   2,019.02 401(k) Contribution
Elliot Maltz                       11 Ivy Road, Needham, MA, 02492-3731                Former Officer                                             4/14/2023 $               7,850.84 USD                                               $                   7,850.84 Compensation
Elliot Maltz                       11 Ivy Road, Needham, MA, 02492-3731                Former Officer                                             4/14/2023 $               2,019.02 USD                                               $                   2,019.02 401(k) Contribution
Elliot Maltz                       11 Ivy Road, Needham, MA, 02492-3731                Former Officer                                             4/28/2023 $               7,850.84 USD                                               $                   7,850.84 Compensation
Elliot Maltz                       11 Ivy Road, Needham, MA, 02492-3731                Former Officer                                             4/28/2023 $               2,019.02 USD                                               $                   2,019.02 401(k) Contribution
Elliot Maltz                       11 Ivy Road, Needham, MA, 02492-3731                Former Officer                                              5/1/2023 $               5,662.01 USD                                               $                   5,662.01 Compensation
Elliot Maltz                       11 Ivy Road, Needham, MA, 02492-3731                Former Officer                                              5/1/2023 $               1,440.10 USD                                               $                   1,440.10 401(k) Contribution
Elliot Maltz                       11 Ivy Road, Needham, MA, 02492-3731                Former Officer                                             5/15/2023 $               7,162.38 USD                                               $                   7,162.38 Compensation
Elliot Maltz                       11 Ivy Road, Needham, MA, 02492-3731                Former Officer                                             5/15/2023 $               1,835.45 USD                                               $                   1,835.45 401(k) Contribution
Elliot Maltz                       11 Ivy Road, Needham, MA, 02492-3731                Former Officer                                             5/31/2023 $               7,850.84 USD                                               $                   7,850.84 Compensation
Elliot Maltz                       11 Ivy Road, Needham, MA, 02492-3731                Former Officer                                             5/31/2023 $               2,019.02 USD                                               $                   2,019.02 401(k) Contribution
Elliot Maltz                       11 Ivy Road, Needham, MA, 02492-3731                Former Officer                                             6/15/2023 $               8,005.76 USD                                               $                   8,005.76 Compensation
Elliot Maltz                       11 Ivy Road, Needham, MA, 02492-3731                Former Officer                                             6/15/2023 $               2,019.02 USD                                               $                   2,019.02 401(k) Contribution
Elliot Maltz                       11 Ivy Road, Needham, MA, 02492-3731                Former Officer                                             6/30/2023 $               8,719.03 USD                                               $                   8,719.03 Compensation
Elliot Maltz                       11 Ivy Road, Needham, MA, 02492-3731                Former Officer                                             6/30/2023 $               2,019.02 USD                                               $                   2,019.02 401(k) Contribution
Elliot Maltz                       11 Ivy Road, Needham, MA, 02492-3731                Former Officer                                             7/14/2023 $               8,719.03 USD                                               $                   8,719.03 Compensation
Elliot Maltz                       11 Ivy Road, Needham, MA, 02492-3731                Former Officer                                             7/14/2023 $               2,019.02 USD                                               $                   2,019.02 401(k) Contribution
Elliot Maltz                       11 Ivy Road, Needham, MA, 02492-3731                Former Officer                                             7/31/2023 $               8,676.65 USD                                               $                   8,676.65 Compensation
Elliot Maltz                       11 Ivy Road, Needham, MA, 02492-3731                Former Officer                                             7/31/2023 $               2,019.02 USD                                               $                   2,019.02 401(k) Contribution
Elliot Maltz                       11 Ivy Road, Needham, MA, 02492-3731                Former Officer                                             8/15/2023 $              11,318.95 USD                                               $                  11,318.95 Compensation
Elliot Maltz                       11 Ivy Road, Needham, MA, 02492-3731                Former Officer                                             8/15/2023 $                 669.79 USD                                               $                     669.79 401(k) Contribution
Gelesis Srl                        Via Verdi, 188, 73021 CALIMERA (LE), ITALY          Subsidiary                                                 12/5/2022 €           2,269,401.48 EUR                                     1.0540360 $               2,392,030.86 Intercompany Financing
Gelesis Srl                        Via Verdi, 188, 73021 CALIMERA (LE), ITALY          Subsidiary                                                 12/8/2022 $                 507.17 USD                                               $                     507.17 Intercompany Financing
Gelesis Srl                        Via Verdi, 188, 73021 CALIMERA (LE), ITALY          Subsidiary                                                 12/8/2022 €             730,598.52 EUR                                     1.0491040 $                 766,473.83 Intercompany Financing
Gelesis Srl                        Via Verdi, 188, 73021 CALIMERA (LE), ITALY          Subsidiary                                                 8/10/2023 €             375,000.00 EUR                                     1.0975370 $                 411,576.38 Intercompany Financing
                                   1155 N. Gulfstream Ave., Unit #403, Sarasota, FL
Harry Leider                       34236                                               Former Officer                                            11/15/2022 $               63,202.44 USD                                              $                  63,202.44 Severance
                                   1155 N. Gulfstream Ave., Unit #403, Sarasota, FL
Harry Leider                       34236                                               Former Officer                                              1/3/2023 $               58,774.52 USD                                              $                  58,774.52 Severance
                                   Via Tortona N. 25 - Deloitte Touche S.R.L., 20144
One S.R.L.                         MILANO MILANO, ITALY                                Subsidiary                                                12/23/2022 €               10,140.02 EUR                                     1.061659 $                  10,765.24 Intercompany Financing
                                   Via Tortona N. 25 - Deloitte Touche S.R.L., 20144
One S.R.L.                         MILANO MILANO, ITALY                                Subsidiary                                                12/26/2022 €              116,610.28 EUR                                     1.061625 $                123,796.39 Intercompany Financing

                                                                                       Secured Lender, Co-Founder, Investor with recent                                                                                                                            Royalty payment and rent, utilities, and
PureTech Health LLC                6 Tide Street, Suite 400, BOSTON, MA 02210          former board member, and connection with CEO               11/4/2022 $              228,165.48 USD                                              $                228,165.48 insurance under sublease

                                                                                       Secured Lender, Co-Founder, Investor with recent                                                                                                                            Royalty payment and rent, utilities, and
PureTech Health LLC                6 Tide Street, Suite 400, BOSTON, MA 02210          former board member, and connection with CEO              12/16/2022 $              222,749.35 USD                                              $                222,749.35 insurance under sublease
                                                                                       Officer and Director of Gelesis, Inc. and Gelesis
Yishai Zohar                       29 Sargent Beechwood, Brookline, MA, 02445          Holdings, Inc.                                           10/31/2022 $                12,015.66 USD                                              $                  12,015.66 Compensation
                                                                                       Officer and Director of Gelesis, Inc. and Gelesis
Yishai Zohar                       29 Sargent Beechwood, Brookline, MA, 02445          Holdings, Inc.                                           11/15/2022 $                12,015.70 USD                                              $                  12,015.70 Compensation
                                                                                       Officer and Director of Gelesis, Inc. and Gelesis
Yishai Zohar                       29 Sargent Beechwood, Brookline, MA, 02445          Holdings, Inc.                                           11/30/2022 $                12,015.70 USD                                              $                  12,015.70 Compensation




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                                                                               Gelesis, Inc. - Statement of Financial Affairs - Part 2, Section 4 - Payments or Transfers to Insiders within 1 year of Filing

               Insider Name                    Insider Address                            Relationship to Debtor               Payment Date           Payment Amount            Payment Currency           Exchange Rate       Payment Amount (USD)                Reason for Payment
                                                                           Officer and Director of Gelesis, Inc. and Gelesis
Yishai Zohar                  29 Sargent Beechwood, Brookline, MA, 02445   Holdings, Inc.                                           12/15/2022 $                12,015.70 USD                                              $                  12,015.70 Compensation
                                                                           Officer and Director of Gelesis, Inc. and Gelesis
Yishai Zohar                  29 Sargent Beechwood, Brookline, MA, 02445   Holdings, Inc.                                           12/30/2022 $                12,015.70 USD                                              $                  12,015.70 Compensation
                                                                           Officer and Director of Gelesis, Inc. and Gelesis
Yishai Zohar                  29 Sargent Beechwood, Brookline, MA, 02445   Holdings, Inc.                                            1/13/2023 $                10,061.24 USD                                              $                  10,061.24 Compensation
                                                                           Officer and Director of Gelesis, Inc. and Gelesis
Yishai Zohar                  29 Sargent Beechwood, Brookline, MA, 02445   Holdings, Inc.                                            1/13/2023 $                 2,433.38 USD                                              $                   2,433.38 401(k) Contribution
                                                                           Officer and Director of Gelesis, Inc. and Gelesis
Yishai Zohar                  29 Sargent Beechwood, Brookline, MA, 02445   Holdings, Inc.                                            1/31/2023 $                10,061.24 USD                                              $                  10,061.24 Compensation
                                                                           Officer and Director of Gelesis, Inc. and Gelesis
Yishai Zohar                  29 Sargent Beechwood, Brookline, MA, 02445   Holdings, Inc.                                            1/31/2023 $                 2,433.38 USD                                              $                   2,433.38 401(k) Contribution
                                                                           Officer and Director of Gelesis, Inc. and Gelesis
Yishai Zohar                  29 Sargent Beechwood, Brookline, MA, 02445   Holdings, Inc.                                            1/31/2023 $                   250.00 USD                                              $                    250.00 Gift Card
                                                                           Officer and Director of Gelesis, Inc. and Gelesis
Yishai Zohar                  29 Sargent Beechwood, Brookline, MA, 02445   Holdings, Inc.                                            2/15/2023 $                10,061.24 USD                                              $                  10,061.24 Compensation
                                                                           Officer and Director of Gelesis, Inc. and Gelesis
Yishai Zohar                  29 Sargent Beechwood, Brookline, MA, 02445   Holdings, Inc.                                            2/15/2023 $                 2,433.38 USD                                              $                   2,433.38 401(k) Contribution
                                                                           Officer and Director of Gelesis, Inc. and Gelesis
Yishai Zohar                  29 Sargent Beechwood, Brookline, MA, 02445   Holdings, Inc.                                            2/28/2023 $                10,061.24 USD                                              $                  10,061.24 Compensation
                                                                           Officer and Director of Gelesis, Inc. and Gelesis
Yishai Zohar                  29 Sargent Beechwood, Brookline, MA, 02445   Holdings, Inc.                                            2/28/2023 $                 2,433.38 USD                                              $                   2,433.38 401(k) Contribution
                                                                           Officer and Director of Gelesis, Inc. and Gelesis
Yishai Zohar                  29 Sargent Beechwood, Brookline, MA, 02445   Holdings, Inc.                                            3/15/2023 $                10,061.24 USD                                              $                  10,061.24 Compensation
                                                                           Officer and Director of Gelesis, Inc. and Gelesis
Yishai Zohar                  29 Sargent Beechwood, Brookline, MA, 02445   Holdings, Inc.                                            3/15/2023 $                 2,433.38 USD                                              $                   2,433.38 401(k) Contribution
                                                                           Officer and Director of Gelesis, Inc. and Gelesis
Yishai Zohar                  29 Sargent Beechwood, Brookline, MA, 02445   Holdings, Inc.                                            3/31/2023 $                10,061.24 USD                                              $                  10,061.24 Compensation
                                                                           Officer and Director of Gelesis, Inc. and Gelesis
Yishai Zohar                  29 Sargent Beechwood, Brookline, MA, 02445   Holdings, Inc.                                            3/31/2023 $                 2,433.38 USD                                              $                   2,433.38 401(k) Contribution
                                                                           Officer and Director of Gelesis, Inc. and Gelesis
Yishai Zohar                  29 Sargent Beechwood, Brookline, MA, 02445   Holdings, Inc.                                            4/14/2023 $                10,061.24 USD                                              $                  10,061.24 Compensation
                                                                           Officer and Director of Gelesis, Inc. and Gelesis
Yishai Zohar                  29 Sargent Beechwood, Brookline, MA, 02445   Holdings, Inc.                                            4/14/2023 $                 2,433.38 USD                                              $                   2,433.38 401(k) Contribution
                                                                           Officer and Director of Gelesis, Inc. and Gelesis
Yishai Zohar                  29 Sargent Beechwood, Brookline, MA, 02445   Holdings, Inc.                                            4/28/2023 $                10,061.24 USD                                              $                  10,061.24 Compensation
                                                                           Officer and Director of Gelesis, Inc. and Gelesis
Yishai Zohar                  29 Sargent Beechwood, Brookline, MA, 02445   Holdings, Inc.                                            4/28/2023 $                 2,433.38 USD                                              $                   2,433.38 401(k) Contribution
                                                                           Officer and Director of Gelesis, Inc. and Gelesis
Yishai Zohar                  29 Sargent Beechwood, Brookline, MA, 02445   Holdings, Inc.                                             5/1/2023 $                 8,853.26 USD                                              $                   8,853.26 Compensation
                                                                           Officer and Director of Gelesis, Inc. and Gelesis
Yishai Zohar                  29 Sargent Beechwood, Brookline, MA, 02445   Holdings, Inc.                                             5/1/2023 $                 2,114.24 USD                                              $                   2,114.24 401(k) Contribution
                                                                           Officer and Director of Gelesis, Inc. and Gelesis
Yishai Zohar                  29 Sargent Beechwood, Brookline, MA, 02445   Holdings, Inc.                                            5/15/2023 $                10,199.86 USD                                              $                  10,199.86 Compensation
                                                                           Officer and Director of Gelesis, Inc. and Gelesis
Yishai Zohar                  29 Sargent Beechwood, Brookline, MA, 02445   Holdings, Inc.                                            5/15/2023 $                 2,212.13 USD                                              $                   2,212.13 401(k) Contribution
                                                                           Officer and Director of Gelesis, Inc. and Gelesis
Yishai Zohar                  29 Sargent Beechwood, Brookline, MA, 02445   Holdings, Inc.                                            5/31/2023 $                11,183.67 USD                                              $                  11,183.67 Compensation
                                                                           Officer and Director of Gelesis, Inc. and Gelesis
Yishai Zohar                  29 Sargent Beechwood, Brookline, MA, 02445   Holdings, Inc.                                            5/31/2023 $                 2,433.38 USD                                              $                   2,433.38 401(k) Contribution
                                                                           Officer and Director of Gelesis, Inc. and Gelesis
Yishai Zohar                  29 Sargent Beechwood, Brookline, MA, 02445   Holdings, Inc.                                            6/15/2023 $                11,061.76 USD                                              $                  11,061.76 Compensation
                                                                           Officer and Director of Gelesis, Inc. and Gelesis
Yishai Zohar                  29 Sargent Beechwood, Brookline, MA, 02445   Holdings, Inc.                                            6/15/2023 $                 2,433.38 USD                                              $                   2,433.38 401(k) Contribution
                                                                           Officer and Director of Gelesis, Inc. and Gelesis
Yishai Zohar                  29 Sargent Beechwood, Brookline, MA, 02445   Holdings, Inc.                                            6/30/2023 $                11,020.74 USD                                              $                  11,020.74 Compensation
                                                                           Officer and Director of Gelesis, Inc. and Gelesis
Yishai Zohar                  29 Sargent Beechwood, Brookline, MA, 02445   Holdings, Inc.                                            6/30/2023 $                 2,433.38 USD                                              $                   2,433.38 401(k) Contribution
                                                                           Officer and Director of Gelesis, Inc. and Gelesis
Yishai Zohar                  29 Sargent Beechwood, Brookline, MA, 02445   Holdings, Inc.                                            7/14/2023 $                11,020.74 USD                                              $                  11,020.74 Compensation
                                                                           Officer and Director of Gelesis, Inc. and Gelesis
Yishai Zohar                  29 Sargent Beechwood, Brookline, MA, 02445   Holdings, Inc.                                            7/14/2023 $                 2,433.38 USD                                              $                   2,433.38 401(k) Contribution
                                                                           Officer and Director of Gelesis, Inc. and Gelesis
Yishai Zohar                  29 Sargent Beechwood, Brookline, MA, 02445   Holdings, Inc.                                            7/31/2023 $                11,020.74 USD                                              $                  11,020.74 Compensation
                                                                           Officer and Director of Gelesis, Inc. and Gelesis
Yishai Zohar                  29 Sargent Beechwood, Brookline, MA, 02445   Holdings, Inc.                                            7/31/2023 $                 2,433.38 USD                                              $                   2,433.38 401(k) Contribution
                                                                           Officer and Director of Gelesis, Inc. and Gelesis
Yishai Zohar                  29 Sargent Beechwood, Brookline, MA, 02445   Holdings, Inc.                                            8/15/2023 $                11,020.74 USD                                              $                  11,020.74 Compensation
                                                                           Officer and Director of Gelesis, Inc. and Gelesis
Yishai Zohar                  29 Sargent Beechwood, Brookline, MA, 02445   Holdings, Inc.                                            8/15/2023 $                 2,433.38 USD                                              $                   2,433.38 401(k) Contribution
                                                                           Officer and Director of Gelesis, Inc. and Gelesis
Yishai Zohar                  29 Sargent Beechwood, Brookline, MA, 02445   Holdings, Inc.                                            8/31/2023 $                11,173.34 USD                                              $                  11,173.34 Compensation
                                                                           Officer and Director of Gelesis, Inc. and Gelesis
Yishai Zohar                  29 Sargent Beechwood, Brookline, MA, 02445   Holdings, Inc.                                            8/31/2023 $                 2,191.16 USD                                              $                   2,191.16 401(k) Contribution
                                                                           Officer and Director of Gelesis, Inc. and Gelesis
Yishai Zohar                  29 Sargent Beechwood, Brookline, MA, 02445   Holdings, Inc.                                            9/15/2023 $                12,156.32 USD                                              $                  12,156.32 Compensation
                                                                           Officer and Director of Gelesis, Inc. and Gelesis
Yishai Zohar                  29 Sargent Beechwood, Brookline, MA, 02445   Holdings, Inc.                                            9/15/2023 $                   630.88 USD                                              $                    630.88 401(k) Contribution
                                                                           Officer and Director of Gelesis, Inc. and Gelesis
Yishai Zohar                  29 Sargent Beechwood, Brookline, MA, 02445   Holdings, Inc.                                            9/29/2023 $                12,156.32 USD                                              $                  12,156.32 Compensation
                                                                           Officer and Director of Gelesis, Inc. and Gelesis
Yishai Zohar                  29 Sargent Beechwood, Brookline, MA, 02445   Holdings, Inc.                                            9/29/2023 $                   334.27 USD                                              $                    334.27 401(k) Contribution
                                                                           Officer and Director of Gelesis, Inc. and Gelesis
Yishai Zohar                  29 Sargent Beechwood, Brookline, MA, 02445   Holdings, Inc.                                           10/13/2023 $                12,156.28 USD                                              $                  12,156.28 Compensation
                                                                           Officer and Director of Gelesis, Inc. and Gelesis
Yishai Zohar                  29 Sargent Beechwood, Brookline, MA, 02445   Holdings, Inc.                                           10/17/2023 $                13,970.76 USD                                              $                  13,970.76 Compensation
                                                                           Officer and Director of Gelesis, Inc. and Gelesis
Yishai Zohar                  29 Sargent Beechwood, Brookline, MA, 02445   Holdings, Inc.                                           10/30/2023 $                 8,675.26 USD                                              $                   8,675.26 Compensation




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                                 Gelesis, Inc. – Statement of Financial Affairs – Part 10, Section 20

                                                       Off-Premises Storage

              Facility Name and Address    Names of Anyone With Access          Description of Contents   Does Debtor
                                                        To It                                             Still Have It
                Centerpiece Holdings               Efren Martinez            POD WIP, Finished Goods,          Yes
                  420 Stevens Ave.           emartinez@centerpiece.life      Component Inventory
                        #230
               Solana Beach, CA 92075              Derek Dunlop
                                               derek@certerpiece.life

                                               Centerpiece Holdings
                                                 420 Stevens Ave.
                                                       #230
                                              Solana Beach, CA 92075




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              Gelesis, Inc. – Statement of Financial Affairs – Part 13, Section 25

                 Other Business in which the Debtor Has or Had an Interest

  Business Name and         Nature of the               EIN                 Dates Business
       Address                Business            (*or Italian Tax             Existed
                                                  Registration ID)
     Gelesis, LLC        IP holding                 XX-XXXXXXX            6/21/2012 - Present
  501 Boylston Street    company; non-
      Suite 6102,        operating entity
  Boston MA 02116        with no FTE.
   Gelesis 2012, Inc.    IP holding                  XX-XXXXXXX           6/25/2012 - Present
  501 Boylston Street    company; non-
      Suite 6102,        operating entity
  Boston MA 02116        with no FTE.
   Gelesis Securities    MA security                 XX-XXXXXXX          12/13/2021 - Present
      Corporation        corporation
  501 Boylston Street    established to
      Suite 6102,        minimize MA net
  Boston MA 02116        worth excise tax.
     Gelesis S.r.l.      Manufacturing and         06508451215*           12/4/2009 - Present
  Via Europa 187 z.i.,   R&D subsidiary in
 73021 Calimera (LE),    Calimera Italy
         Italy
       One S.r.l.        Non-operating             06508451215*           12/1/2008 - Present
    Via Tortona 25,      subsidiary in
   Milano Provincia      Milan, Italy.
      (MI), Italy        Original inventor
                         of the intellectual
                         property used by
                         the debtor and
                         affiliates,
                         continues to
                         collect royalty
                         payments from use
                         of such IP.




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              Gelesis, Inc. – Statement of Financial Affairs – Part 13, Section 26a

       All Accountants and Bookkeepers who Maintained Debtor’s Books and Records

                  Name                  Address                Dates of Service
               Elliot Maltz      11 Ivy Road, Needham,     March 2014 – August 2023
                                     MA 02492-3731
              Susan Fiedler        501 Boylston Street        May 2019 – Present
                                       Suite 6102,
                                   Boston, MA 02116
               Wenlie Zhou         501 Boylston Street        April 2021 – Present
                                       Suite 6102,
                                   Boston, MA 02116
              Jennifer Brown       501 Boylston Street       June 2021 – July 2023
                                       Suite 6102,
                                   Boston, MA 02116




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                Gelesis, Inc. – Statement of Financial Affairs – Part 13, Section 28

                 Directors, Officers and Controlling Shareholders of the Debtor

              Name                  Address             Position and Nature of         % Interest,
                                                             Any Interest               if Any
                              501 Boylston Street,
 Gelesis Holdings, Inc.           Suite 6102,         Controlling Shareholder            100%
                              Boston, MA 02116
                                                  President, Chief Executive
                             29 Sargent Beechwood Officer, Sole Director,
 Yishai Zohar
                             Brookline, MA 02445  Class III Director and Co-
                                                  Inventor
                                                  Chief Operating Officer
                               88 Pleasant St. S.
 David Pass                                       and Chief Commercial
                            Natick, MA 01760-5634
                                                  Officer




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                                            Gelesis, Inc. – Statement of Financial Affairs – Part 13, Section 30
                                                 Value Provided to Insiders between 10/30/22 and 10/30/23

   Name           Address         Relationship to    Dates       Salary         401(k)        Benefits        Expense      Consulting    Severance      TOTAL
                                      Debtor                                 Contributions      and        Reimbursement     Fees
                                                                                             Insurance       (Corporate
                                                                                                            Credit Card)
                                  President, Chief
                 29 Sargent       Executive
 Yishai         Beechwood,        Officer, Sole
                                                     Various   $480,982.41    $11,550.00     $1,681.31       $29,973.36                                $524,187.08
 Zohar         Brookline, MA      Director, Class
                   02445          III Director and
                                  Co-Inventor
                                  Chief Operating
              88 Pleasant St S,   Officer and
 David
                Natick, MA,       Chief              Various   $416,257.62    $18,461.24     $20,792.56      $54,676.25                                $510,187.67
 Pass
                01760-5634        Commercial
                                  Officer
                                  Former Chief
                                  Financial
                                  Officer, Chief
                11 Ivy Road,
 Elliot                           Compliance
               Needham, MA,                          Various   $290,010.20     $9,641.73     $7,126.04       $80,567.14                                $387,345.11
 Maltz                            Officer,
                02492-3731
                                  Treasurer and
                                  Corporate
                                  Secretary
               505 Sun Forest     Former Chief
 Elaine
              Way, Chapel Hill,   Scientific         Various   $46,466.23      $1,615.73      $127.86                                                  $48,209.82
 Chiquette
                 NC, 27517        Officer
               505 Sun Forest     Entity owned
 4Med
              Way, Chapel Hill,   by Elaine          Various                                                               $215,508.77                 $215,508.77
 LLC
                 NC, 27517        Chiquette
                  1155 N.
              Gulfstream Ave.
 Harry                            Former Chief
                 Unit #403,                          Various                                                                             $121,976.96   $121,976.96
 Leider                           Medical Officer
                Sarasota, FL
                   34236




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